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15                         UNITED STATES DISTRICT COURT
16                        CENTRAL DISTRICT OF CALIFORNIA
17                                SOUTHERN DISTRICT
18
      IN RE ALLERGAN, INC. PROXY               Case No. 8:14-cv-2004-DOC (ANx)
19    VIOLATION SECURITIES
      LITIGATION
20                                             CLASS ACTION
                         Defendants.
21                                             AMENDED COMPLAINT
22                                             JURY TRIAL DEMANDED
23                                             Judge: Hon. David O. Carter
24

25

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 1          Lead Plaintiffs the State Teachers Retirement System of Ohio (“Ohio
 2    STRS”) and the Iowa Public Employees Retirement System (“Iowa PERS”), and
 3    plaintiff Patrick T. Johnson (collectively, “Plaintiffs”), through their undersigned
 4    counsel, bring this securities class action for violations of Section 14(e) of the
 5    Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78n(e), and
 6    Rule 14e-3, codified at 17 CFR § 240.14e-3, Section 20A of the Exchange Act,
 7    codified at 15 U.S.C. § 78t-1, and Section 20(a), codified at 15 U.S.C. § 78(t)(a),
 8    on behalf of investors who sold Allergan, Inc. (“Allergan or the “Company”)
 9    common stock during the Class Period (defined below) (the “Action”). Plaintiffs
10    bring the Action against Defendants Pershing Square Capital Management, L.P.
11    (“Pershing Square”), PS Management GP, LLC (“PS Management”), William
12    Ackman (“Ackman”) and PS Fund 1, LLC (“PS Fund 1”) (collectively,
13    “Pershing”), as well as against Michael Pearson (“Pearson”), Valeant
14    Pharmaceuticals International, Inc. (“Valeant”), and Valeant Pharmaceuticals
15    International (“Valeant USA”) (collectively, “Valeant” and, together with
16    Pershing, “Defendants”).
17          Plaintiffs allege the following based upon personal knowledge as to
18    themselves and their own acts and upon information and belief as to all other
19    matters. Plaintiffs’ information and belief is based on, inter alia, the independent
20    investigation of Lead Counsel which included the analysis of: (i) regulatory filings
21    made by Allergan, Valeant and Pershing with the United States Securities and
22    Exchange Commission (“SEC”); (ii) research reports by securities and financial
23    analysts; (iii) transcripts of Allergan’s, Valeant’s and Pershing Square’s earnings
24    and other investor conference calls; (iv) publicly available presentations, press
25    releases, interviews and media reports by Valeant, Allergan, and Pershing Square;
26    (v) economic analyses of the movement and pricing of Allergan publicly traded
27    common stock and options; (vi) consultations with relevant consultants and
28    experts; (vii) publicly available pleadings, evidence and deposition testimony in

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 1    Allergan, Inc. v. Valeant Pharmaceuticals International, Inc., No. 14-cv-1214-
 2    DOC (C.D. Cal.); and (vi) other publicly available material and data identified
 3    herein. Lead Counsel’s investigation into the factual allegations contained herein
 4    is continuing, and many of the relevant facts are known only by Defendants or are
 5    exclusively within their custody or control.       Plaintiffs believe that substantial
 6    additional evidentiary support will exist for the allegations set forth herein after a
 7    reasonable opportunity for further investigation or discovery.
 8    I.    INTRODUCTION
 9          1.     This case involves an illegal insider trading and front-running scheme
10    that deprived a class of Allergan shareholders of billions of dollars of value in
11    violation of the federal securities laws. The scheme began in February 2014 when
12    William Ackman, hedge fund billionaire and fearsome “activist” investor, and
13    Michael Pearson, the CEO of cash-strapped but acquisition hungry Valeant, struck

14    a simple but unlawful bargain.       In exchange for inside information regarding
      Valeant’s plans to launch a hostile takeover and tender offer for fellow
15
      pharmaceutical company Allergan, Ackman agreed to secretly acquire nearly 10%
16
      of Allergan’s stock and commit those shares to support Valeant’s bid.
17
            2.     This illegal bargain was highly beneficial to both Pershing and
18
      Valeant. Pershing obtained a virtually risk-free trading opportunity to “front run”
19
      Valeant’s bid and accumulate a multi-billion dollar stake in Allergan before the bid
20
      and tender offer became public. Although Pershing had never before invested in a
21
      pharmaceutical company, Ackman was more than willing to spend nearly $4 billion
22
      of Pershing’s capital to “invest” in Allergan – the largest position in the firm’s
23    history – when he had inside information that the rest of the market did not.
24    Ackman knew that once Valeant publicly disclosed its offer to buy Allergan at a
25    substantial premium, Allergan’s stock price would immediately increase and
26    deliver Pershing billions of dollars in short-term profits.
27          3.     In return, Valeant secured crucial voting support from Pershing’s large
28    block of Allergan shares – something Valeant knew it needed to effect its hostile

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 1    takeover and overcome Allergan’s defensive measures. Moreover, given Valeant’s
 2    debt burden (amassed through its aggressive growth-by-acquisition strategy),
 3    Pearson knew that Valeant could not afford the large “toehold” stake necessary to
 4    successfully execute a hostile takeover of a $37 billion company like Allergan. By
 5    trading inside information for votes, however, Valeant obtained the support of a
 6    near 10% voting block without providing any significant up-front capital of its

 7    own.
             4.    Defendants’ plan not only made Valeant’s hostile bid more likely to
 8
      succeed, but also enabled Valeant to profit even if the bid failed. Specifically,
 9
      Pearson convinced Ackman to agree that if Valeant’s takeover bid was trumped and
10
      defeated by a competing bid, Pershing would kick back 15% of its insider trading
11
      profits to Valeant.
12
             5.    Defendants formalized their plan in a contract on February 25, 2014,
13
      the first day of the Class Period. As the ink was drying, Pershing, armed with its
14
      inside information concerning Valeant’s bid, began buying up Allergan shares from
15
      unwitting investors.   By purchasing stock using derivatives and other stealth
16    trading techniques, Pershing was able to circumvent antitrust and federal securities
17    disclosure rules that would have alerted investors to Defendants’ scheme. This
18    strategy also allowed Pershing to conceal its front-running of Valeant’s bid long
19    enough to accumulate nearly 10% of Allergan’s shares from unsuspecting Allergan
20    shareholders – the members of the Class.
21           6.    Between February 25 and April 8, 2014, Pershing, through a funding
22    vehicle named “PS Fund 1,” bought over 14 million Allergan shares at prices as
23    low as $117.91 for a total cost of approximately $2 billion. These purchases gave
24    Pershing a 4.9% stake in Allergan – just short of the 5% threshold that would

25    require Pershing to disclose its position in an SEC filing under Section 13(d)

26
      within 10 days of crossing that threshold. Pershing then used that 10-day window
      (from April 10 through 21) to amass another 13.9 million shares. By April 21,
27
      Pershing held over 28 million Allergan shares, or 9.7% of the company, with an
28
      aggregate value of approximately $3.2 billion – all prior to any disclosure to the
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 1    marketplace of the material nonpublic information regarding Valeant’s anticipated
 2    hostile bid.
 3          7.       After the close of trading on April 21, 2014, Valeant disclosed its
 4    intention to acquire Allergan, along with Pershing’s 9.7% position in the company.
 5    Upon this disclosure, Allergan’s stock price increased by approximately $20 per
 6    share in one day, jumping 22% from its “unaffected” price and causing Pershing’s

 7    shares to be worth nearly $1 billion more than it paid for them.
            8.       As expected, Valeant’s takeover bid put Allergan “in play” for other
 8
      competing acquisition proposals.        Ultimately, another bidder, Actavis plc
 9
      (“Actavis”), offered Allergan shareholders $219 per share – more than the $200 per
10
      share Valeant offered.     But Defendants’ warehousing scheme was a rousing
11
      success. After splitting up the proceeds and paying Valeant its approximately $400
12
      million cut, Ackman walked away with over $2.2 billion in pure profit made off the
13
      backs of unwitting Class members who sold their shares during the Class Period.
14
            9.       On November 4, 2014, this Court found, after limited discovery and
15
      argument, that Valeant’s conduct and communication of material nonpublic
16    information to Pershing concerning Allergan, and Pershing’s subsequent trading
17    while in possession of that inside information, raised “serious questions” about
18    violations of Section 14(e) of the Exchange Act and Rule 14e-3 promulgated
19    thereunder. Allergan, Inc. v. Valeant Pharmaceuticals International, Inc., No. 14-
20    cv-1214, Dkt. No. 234 (the “PI Ruling”). The Court also held that Allergan
21    shareholders who sold during the period of Pershing’s insider trading “ha[d] a
22    private right of action under Rule 14e-3” that “c[ould] be remedied through
23    damages.”
24          10.      The above finding from the Court hardly humbled Ackman, much less

25    deterred him from gloating. During a January 7, 2015 CNBC interview, Ackman

26
      was asked pointedly about the obvious unfairness of Pershing’s massive profit
      while so many less privileged Allergan investors sold their shares to Pershing
27
      without knowing Valeant’s plans. Ackman’s response was telling:              “Allergan
28
      shareholders made a fortune . . . . 90% of people who didn’t sell to us when we
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 1    were buying got the benefit of the [Actavis] transaction.”1 Of course, the Allergan
 2    shareholders who did sell during the period of Ackman’s insider trading – i.e., the
 3    members of the Class – did not get any “benefit” whatsoever, and suffered
 4    substantial damages as a result of Defendants’ scheme.
 5          11.    Each of the elements of Plaintiffs’ securities claims are satisfied here.
 6    First, in violation of Rule 14e-3(d) and Section 20A(c), Valeant unlawfully

 7    communicated material nonpublic information relating to its tender offer to
      Pershing “under circumstances in which it is reasonably foreseeable” – indeed
 8
      certain – that the communication would be used by Pershing to illegally trade on
 9
      that inside information. In fact, Pershing’s warehousing of Allergan stock was
10
      central to Valeant’s hostile takeover strategy.
11
            12.    Second, consistent with the PI Ruling and as further alleged herein,
12
      Pershing’s trades, which it indisputably knew were based on material nonpublic
13
      information acquired from the “offering person” (Valeant), occurred after Valeant
14
      had taken numerous “substantial steps” towards the tender offer—and therefore
15
      violated Section 14(e) and Rule 14e-3(a) of the Williams Act. Beginning in early
16    2014, Valeant took numerous substantial steps toward a hostile tender offer,
17    including, inter alia:
18          •      hiring three separate law firms to advise it concerning the transaction,
19                 including pursuing a hostile tender offer;

20          •      holding no less than six formal meetings with its Board of Directors
21                 and related committees to discuss the transaction, at which internal
                   presentations expressly described the transaction as “hostile”;
22

23          •      seeking out bankers to “line up financing” for and to provide
                   presentations regarding the transaction (including the inevitable
24                 hostile bid);
25
            •      entering into a formal confidentiality agreement with Pershing
26                 concerning the transaction;
27

28    1 All emphasis has been added and citations omitted unless otherwise noted.


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 1             •     negotiating a separate agreement with Pershing that specifically
 2                   identified the transaction as potentially proceeding as a “tender offer”
                     and the procedures Valeant would follow if and when a tender offer
 3                   occurred;
 4
               •     conducting due diligence regarding Allergan;
 5
               •     pledging $75.9 million of Valeant’s own capital to fund the deal (an
 6
                     amount, not coincidentally, just shy of triggering anti-trust disclosure
 7                   requirements); and
 8
               •     securing Pershing’s agreement to use Valeant’s insider information,
 9                   acquire a friendly toehold stake in the target company and
                     subsequently vote that stake in favor of a Valeant deal.
10

11             13.   Valeant’s “formal” announcement of its tender offer in June 2014
12    merely revealed what had been a foregone conclusion since at least February 2014.
13    As Pearson explained when announcing the tender offer:             “On April 22, we
14    announced our offer for Allergan. We suspected at the time it would ultimately

15
      have to go directly to Allergan shareholders. We were correct.”
               14.   Defendants knew their quid pro quo violated the securities laws, but
16
      sought to immunize their misconduct by inserting the term “co-bidder” into certain
17
      documents in a superficial and transparent effort to convince regulators that
18
      Pershing was like Valeant – an “offering person” permitted to trade under Rule
19
      14e-3.
20
               15.   Calling a pigeon a duck, however, will not make it quack. Pershing –
21
      which had never invested in a pharmaceutical company in its history – never
22
      intended to buy or take control of Allergan or its assets; the plan all along was for
23
      Pershing to acquire its stake on inside information and then sell it, either to Valeant
24    or another buyer. Valeant was the sole “offering person” in the tender offer.
25             16.   Indeed, Pershing did not directly or indirectly offer anything to any
26    Allergan stockholders in the tender offer. The “Purchaser” of Allergan stock was a
27    Valeant affiliate, AGMS Inc., in which Pershing held zero interest. The Form S-4
28    filed in connection with the tender offer unambiguously stated that Valeant was the

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 1    “offering person” in the transaction, and Pershing was not: “none of Pershing
 2    Square, PS Fund 1 or any of Pershing Square’s affiliates is offering to acquire
 3    any shares of Allergan common stock in the [tender o]ffer.”
 4          17.    The question and answer portion of the S-4 was even more
 5    unequivocal: “Q: Who is Offering to Acquire My Shares of Allergan Common
 6    Stock? A: The offer is being made by Valeant through Purchaser, a wholly owned

 7    subsidiary of Valeant.” Indeed, Ackman himself admitted that Pershing was not an
      “offering person,” clarifying on the April 22, 2014 investor call announcing
 8
      Valeant’s bid that “I am not the one making the offer.”
 9
            18.    In short, because the crux of their plan required that Pershing’s 9.7%
10
      toehold in Allergan would eventually be bought out by Valeant in any tender offer,
11
      Ackman was, by definition, never anything but a seller to Valeant, and could not
12
      possibly be a “bidder” for its own Allergan shares.
13
            19.    Defendants’ deceptive conduct is not permitted by the federal
14
      securities laws and fundamentally violates both the letter and spirit of the Williams
15
      Act. Defendants’ scheme, if allowed here, would undoubtedly be used by other
16    takeover specialists, undermine the fairness and transparency of the securities
17    markets and revive the unseemly “warehousing” and “front-running” practices that
18    Rule 14e-3 was specifically designed to prohibit.
19          20.    Through this action, Lead Plaintiffs seek an award of damages and an
20    order requiring Defendants to return their unjust profits to the innocent Allergan
21    stockholders harmed by their misconduct—a result that would effectuate the core
22    purposes of the those laws while ensuring the integrity of securities markets and
23    providing investors with the crucial protections that Congress intended.
24    II.   PARTIES AND RELEVANT NON PARTIES
            A.     Plaintiffs
25

26
            21.    Lead Plaintiff Ohio STRS is a public pension fund organized under
      Ohio law for the benefit of current and retired educators in the State of Ohio. As of
27
      June 30, 2014, Ohio STRS managed more than $76.5 billion in assets and served
28
      more than 482,000 active, inactive, and retired Ohio public educators. As reflected
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 1    on its certification previously filed in this action (Dkt. No. 18-2), Ohio STRS sold
 2    shares of Allergan common stock on the New York Stock Exchange (the “NYSE”)
 3    during the Class Period and suffered damages as a result of the conduct
 4    complained of herein.
 5          22.    Lead Plaintiff Iowa PERS is a public pension fund organized under
 6    Iowa law for the benefit of retired public employees in the State of Iowa. As of

 7    June 30, 2014, Iowa PERS managed more than $28 billion in assets and served
      more than 250,000 active, inactive, and retired Iowa public employees.              As
 8
      reflected on its certification previously filed in this action (Dkt. No. 18-2), Iowa
 9
      PERS sold shares of Allergan common stock on the NYSE during the Class Period
10
      and suffered damages as a result of the conduct complained of herein.
11
            23.    Additional named plaintiff Patrick T. Johnson is and was at all
12
      relevant times an employee of Allergan and resides in Del Mar, California. As
13
      reflected in his certification filed herewith, Mr. Johnson sold Allergan common
14
      stock on the NYSE during the Class Period and suffered damages as a result of the
15
      conduct complained of herein.
16         B.    Allergan
17          24.    Nonparty Allergan is a multi-specialty healthcare company established
18    more than 60 years ago. At all relevant times, and until its acquisition by Actavis
19    in March 2015, Allergan’s common stock traded on the NYSE under the ticker
20    symbol “AGN.”       Based in Irvine, California and incorporated in Delaware,
21    Allergan had a global presence, with approximately 11,500 employees in 38
22    countries.   During the Class Period, Allergan had a market capitalization of
23    approximately $39 billion.
24          25.    Historically, Allergan positioned itself as strongly science-focused and

25    touted its industry-leading research and development (“R&D”) operation as a key

26
      asset. In 2013, Allergan spent over $1 billion on research and development – or
      approximately 16.8% of product net sales – among the highest percentage among
27
      comparable pharmaceutical companies. Allergan credited its R&D efforts for its
28
      growth and robust product pipeline.
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 1          C.     Valeant Defendants
 2          26.    Defendant Valeant is a publicly traded company that manufactures and
 3    markets pharmaceuticals, over-the-counter products, and medical devices in the
 4    eye care, dermatology, and neurology therapeutic classes. Valeant is based in
 5    Laval, Quebec and trades on the NYSE under the stock ticker symbol “VRX.”
 6          27.    Defendant Valeant USA is a wholly owned subsidiary of Valeant.

 7    Valeant USA is based in New Jersey and incorporated in Delaware. Valeant USA
      became a member of PS Fund 1 on April 3, 2014.
 8
            28.    Non-party AGMS Inc. (“AGMS”) was a Delaware corporation and
 9
      wholly owned subsidiary of Valeant International. AGMS was formed solely to
10
      acquire Allergan stock in the tender offer in exchange for Valeant International
11
      shares and Valeant International cash.
12
            29.    Unless otherwise specified, Valeant, Valeant USA, and AGMS are
13
      referred to collectively as “Valeant.”
14
            30.    Defendant Pearson was, at all relevant times, the Chairman and CEO
15
      of Valeant and President of Valeant USA and, in those capacities and as further
16    alleged herein, was responsible for the day-to-day management and controlled and
17    directed the business and activities of Valeant and Valeant USA.
18          31.    Valeant has a markedly different business model than Allergan.
19    Valeant eschews R&D investment and instead has achieved extraordinary growth
20    through an aggressive program of acquisitions followed by cost-cutting. Valeant’s
21    philosophy – derived directly from Pearson, an alumnus of consulting firm
22    McKinsey & Company – turns on the idea that “Big Pharma” R&D is
23    nonproductive. Rather than spend a material percentage of revenue trying to
24    develop new products, Valeant looks for pharmaceutical “start-ups” with

25    established product pipelines, buys them at low prices using highly-leveraged

26
      financing structures, implements aggressive cost-cutting measures (which typically
      includes massive layoffs of legacy employees and slashing of R&D), and tries to
27
      leverage those products into profitable brands. In 2013, Valeant spent just 3% of
28
      revenue on R&D.
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 1            32.   From 2010 to 2014, Valeant employed this growth-by-acquisition
 2    strategy to increase its market capitalization from $3 billion to over $44 billion by
 3    2014.     In just the past several years, Valeant acquired cold-and-flu remedy
 4    manufacturer Afexa Life Sciences, Inc. (December 2011), medical cosmetics
 5    company Medicis Pharmaceutical Corp. (December 2012), skin-care and aesthetics
 6    products manufacturer Obagi Medical Products, Inc. (April 2013), eye care

 7    company Bausch & Lomb Holdings, Inc. (August 2013), and dermatological
      device maker Solta Holdings Inc. (January 2014), as well as many smaller
 8
      acquisitions. Valeant earned a reputation as a “serial acquirer,” completing over
 9
      100 transactions since 2008.
10
              33.   Valeant’s business model of buying up and expanding through
11
      acquisitions of more-established companies has also made senior management
12
      incredibly rich. Valeant’s acquisitions over the last several years have already
13
      made Pearson a billionaire, as his compensation is directly tied to Valeant’s growth
14
      through acquisitions. Shortly before the beginning of the Class Period, Valeant
15
      announced that it would seek to become one of the five largest pharmaceutical
16    companies in the world by the end of 2016 – an outcome that Pearson told
17    investors during a January 7, 2014 conference call would have “a significant
18    impact” on his annual compensation. In fact, as set forth in Valeant’s 2015 proxy
19    statement, approximately 20% of Pearson’s 2014 annual cash bonus award was
20    based solely on his ability to do “at least one significant deal that creates
21    substantial shareholder value” during the year.
22            34.   While Valeant’s growth-by-acquisition strategy has made its CEO and
23    top executives incredibly wealthy, it has its detractors. Some observers question
24    the debt load the company takes on to fund its acquisitions. Indeed, while Valeant

25    has set ambitious acquisition and growth targets for itself for years, by early 2014

26
      when it started its assault on Allergan, financing to fund its acquisitions was
      becoming scarce.
27
              35.   Although Valeant’s tender offer and attempted hostile takeover of
28
      Allergan was ultimately unsuccessful, it still reaped hundreds of millions of dollars
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 1    in virtually risk-free profits through Defendants’ insider-trading scheme. This
 2    represented just under half of Valeant’s total profits for all of 2014, and alone was
 3    more than the company’s profits for the prior four years combined. In fact, “the
 4    effort generated $287 million in net profit” for the company (after deducting $110
 5    million in expenses) and, accordingly, Valeant’s Board “gave full credit for this
 6    strategic objective” in awarding Pearson $8 million in non-equity incentive

 7    compensation for 2014.
           D.    Pershing Defendants
 8
            36.    Defendant Pershing Square is an investment adviser founded in 2003
 9
      and registered with the SEC under the Investment Advisers Act of 1940. Pershing
10
      Square is a Delaware limited partnership with its principal place of business in
11
      New York. Pershing Square manages a group of affiliated hedge funds. Through
12
      its various hedge funds (including those that formed PS Fund 1), Pershing Square
13
      currently manages over $17 billion in capital. Pershing Square is and was at all
14
      relevant times the non-member manager of PS Fund 1 and directed the business
15
      and affairs of PS Fund 1, including the manner and timing of PS Fund 1’s
16    purchases of Allergan securities.
17          37.    Defendant PS Management is the sole general partner of Pershing
18    Square. PS Management is a Delaware limited liability company with its principal
19    place of business in New York.
20          38.    Defendant PS Fund 1 is a Delaware limited liability company with its
21    principal place of business in New York. PS Fund 1 was formed on February 11,
22    2014 pursuant to the Limited Liability Company Agreement of PS Fund 1, LLC
23    (the “February 11, 2014 Agreement”) for the singular purpose of buying Allergan
24    securities in advance of the contemplated hostile bid for Allergan by and among

25    several Pershing Square-affiliated hedge funds and management entities: Pershing

26
      Square; Pershing Square, L.P., a Delaware limited partnership; Pershing Square II,
      L.P., a Delaware limited partnership; Pershing Square International, Ltd., a
27
      Cayman Islands exempted company; Pershing Square Holdings, Ltd., a Guernsey
28
      limited liability company. Ackman executed the February 11, 2014 Agreement as
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 1    the “Managing Member” of the various Pershing entities that were parties to the
 2    February 11, 2014 Agreement. Two months later, on April 3, 2014, Valeant USA
 3    joined PS Fund 1. Although Valeant USA joined as a “member” of PS Fund 1, it
 4    contributed just 2% of the capital PS Fund 1 used to acquire Allergan stock.
 5    Pershing Square, as the manager of PS Fund 1, controlled PS Fund 1 at all relevant
 6    times.

 7             39.   Unless otherwise specified, Pershing Square, PS Management, and PS
      Fund 1 are referred to collectively as “Pershing.”
 8
               40.   Defendant William A. Ackman is the billionaire founder and CEO of
 9
      Pershing. Ackman resides in New York. At all relevant times, Ackman controlled
10
      Pershing and its affiliated entities, including PS Fund 1 and the Pershing entities
11
      that were members of PS Fund 1.
12
               41.   Ackman has spent years developing his reputation as a feared
13
      “activist” investor. At its most basic, Ackman’s strategy involves identifying
14
      investment opportunities and aggressively buying up shares, followed by some sort
15
      of “active” (and frequently adversarial) strategy using a variety of hostile tactics,
16    such as aggressive “negotiations” with a company’s management or contentious
17    proxy contests, to force the company to adopt certain changes Ackman believes
18    will be beneficial.     For example, in 2005, Pershing acquired a substantial
19    percentage of Wendy’s International’s stock and then pressured management to
20    divest certain assets – including selling or closing about 450 Wendy’s restaurants
21    and divesting the company’s Tim Hortons Canadian doughnut-store business –
22    which drove up the stock price. By 2006, Pershing was able to sell its entire stake
23    in Wendy’s International for nearly double what it invested. As described by one
24    investment firm manager, Ackman’s “game is to drive up the stock and get out –

25    fast.”

26
               42.   While Pershing’s investment tactics have made Ackman a billionaire,
      Ackman suffered a series of bad investments immediately prior to the Class Period
27
      that caused many to question his investment acumen. For example, in 2014,
28
      Pershing suffered significant losses in a high-profile “short selling” bet that health
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 1    supplement distributor Herbalife was in fact a “pyramid scheme” whose stock
 2    value would soon plummet. Despite Ackman’s highly vocal accusations and media
 3    campaign, Herbalife stock increased substantially, resulting in hundreds of millions
 4    in losses for Pershing that year. In 2013, Pershing lost nearly $500 million on a
 5    wager that it could pressure retailer J.C. Penney Co. to re-vamp its merchandise
 6    strategy.

 7           43.    Before Allergan, Pershing had never before invested in a
      pharmaceutical company. As Ackman explained to investors during an April 24,
 8
      2014 presentation, Pershing had not historically invested in pharmaceutical
 9
      companies and in fact had never even “looked at a pharmaceutical company
10
      before” because they do not generally have the kind of predictability or “standard
11
      of durability of…cash flows” like Pershing’s “typical” investments in companies
12
      such as Burger King, Procter & Gamble, and Kraft—companies that have brands
13
      or other unique assets that “protect the business from new entrants” and are
14
      purportedly “shareholder friendly” in the way they allocate capital.           Instead,
15
      Ackman explained, pharmaceutical companies often invest “huge amounts in
16    speculative R&D,” suffer from “price pressure from multiple different players and
17    government,” have “bloated overhead structures” and have a poor track record of
18    “value-destroying acquisitions.”    Of course, these issues became irrelevant to
19    Ackman’s preferentially informed “investment” in Allergan.
20           44.    Pershing’s “investment” in Allergan was its single largest investment
21    in firm history, and reflected Pershing’s attempt to reverse its bad run. From a
22    financial perspective, that has undoubtedly occurred. As alleged herein,
23    Defendants’ illegal insider trading scheme enabled Pershing to reap virtually risk-
24    free profits of over $1 billion when Valeant first announced its bid for Allergan,

25    which ultimately grew to more than $2.5 billion on Pershing’s $3.2 billion

26
      investment.
      III.   JURISDICTION AND VENUE
27
             45.    This Court has subject matter jurisdiction over this action pursuant to
28
      15 U.S.C. §§ 78aa and 28 U.S.C. § 1331.
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 1           46.   This Court has personal jurisdiction over Defendants because each of
 2    them has sufficient minimum contacts in California to satisfy California’s long-arm
 3    statute and constitutional due process requirements through Defendants’
 4    participation in a hostile takeover of Allergan, which is located in California, and
 5    unlawful trading in Allergan securities while in the possession of material,
 6    nonpublic information relating to a tender offer for Allergan.

 7           47.   Venue is proper in the United States District Court for the Central
      District of California pursuant to 15 U.S.C. § 78aa and 28 U.S.C. § 1391(b) and
 8
      (c).
 9
      IV.    BACKGROUND FACTS
10
             A.    Valeant Takes Substantial Steps Toward The Tender
11                 Offer
12                 1.    Valeant Enlists Pershing to “Front-Run” Its
                         Hostile Takeover Efforts
13
             48.   Long before the Class Period began, Pearson and other Valeant
14
      executives identified Allergan as an attractive target to fuel Valeant’s highly-
15
      leveraged acquisition machine. In September 2012, Pearson contacted Allergan’s
16    CEO, David Pyott, to discuss a potential business combination. Shortly after
17    telling Pearson that he would discuss Valeant’s interest in a merger with Allergan’s
18    Board of Directors, Allergan summarily rejected any potential deal, and Pyott
19    informed Pearson personally that the Allergan Board was not interested in a
20    transaction with Valeant.
21           49.   Despite Allergan’s firm rejection of Valeant’s overtures, Valeant
22    continued to analyze an Allergan takeover throughout 2013 and early 2014. In
23    fact, of the many companies that Valeant explored during this period, Pearson
24    believed (as he later admitted) that Allergan was the “most attractive strategic

25    transaction available to Valeant.”

26
             50.   Just weeks before Pershing’s covert purchasing program began,
      Pearson told investors at a January 7, 2014 investor conference that two of
27
      Valeant’s key “strategic initiatives” for 2014 were to “become one of the top five
28
      most valuable pharmaceutical companies as measured by market cap by the end of
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 1    2016” and to complete a significant deal that creates “substantial shareholder
 2    value.” Pearson acknowledged that Valeant’s ability to achieve these strategic
 3    initiatives had a “significant impact” on his annual compensation, and therefore
 4    Valeant had been “spending a lot of [its] time . . . exploring lots and lots of
 5    different deals.” Having put out the bait that Valeant would continue its acquisition
 6    binge, Pearson laid the groundwork for selling the incredibly valuable inside

 7    information he possessed – the identity of Valeant’s target – to Ackman.
            51.    Pearson also realized that an acquisition of any real size had become
 8
      significantly more difficult following Valeant’s $8.6 billion Bausch & Lomb
 9
      acquisition in 2013 (the largest by the company at the time). Valeant’s debt load
10
      had increased significantly since then and obtaining financing to acquire a
11
      company as large as Allergan – which at the time had a $37 billion market
12
      capitalization – was particularly difficult.
13
            52.    Thus, in early 2014, the first step in Valeant’s revived Allergan plan
14
      was to figure out how to effect a hostile takeover, knowing that Allergan would
15
      oppose any deal with Valeant. Because hostile acquirers must secure stockholder
16    votes to either approve their offer without target board support or unseat the board
17    and stack it with directors who will vote for approval, they often buy as many
18    shares as possible to achieve a “toehold” in the target’s stock before disclosing
19    their intentions to the target’s management and shareholders.
20          53.    But Valeant could not afford the “toehold” it knew it needed to effect
21    a hostile bid. As reflected in an internal February 18, 2014 email, Valeant’s senior
22    executives knew the company had “neither sufficient available cash nor borrowing
23    capacity to acquire [a] meaningful toe-hold position” in Allergan in the first part of
24    2014. Pearson admitted after the Class Period that Valeant “did not have $4 billion

25    sitting at the bank” and confirmed that, given Valeant’s debt load, a hostile

26
      takeover of Allergan would have been prohibitively expensive in early 2014.
            54.    An alliance with Pershing, however, offered a convenient solution to
27
      Valeant’s dilemma. Unlike Valeant, Pershing had the financial capacity to acquire
28
      a significant stake in Allergan. Pershing also had a well-known reputation for
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 1    waging aggressive proxy contests and challenging incumbent board of directors
 2    and management – characteristics that served Valeant’s purposes perfectly.
 3              2.     Valeant Entices Ackman to Support Its
                       Takeover Strategy In Exchange for Inside
 4                     Tender Offer Information
 5          55.    Having identified an alliance with Pershing as a way to finance and
 6    better position its takeover of Allergan, Valeant took a series of substantial steps

 7    toward a tender offer.

 8
            56.    Valeant and Pershing’s discussions concerning Allergan began in
      earnest in January 2014, when Pershing’s “special advisor,” William F. Doyle
 9
      (“Doyle”) – who had been Ackman’s classmate at Harvard Business School and
10
      Pearson’s colleague at McKinsey and later Johnson & Johnson – discussed ways
11
      that Valeant and Pershing could work together at an industry conference.
12
            57.    Two weeks later, on January 31, 2014, Pearson met with Doyle again
13
      and the two arranged an introductory meeting between Ackman, Pearson, and
14
      Valeant Board member Mason Morfit (“Morfit”) on February 4, 2014. Besides
15
      serving on Valeant’s Board, Morfit was a partner at ValueAct Capital – a hedge
16    fund with a $2.5 billion stake in Valeant and one of its largest shareholders.2
17    ValueAct Capital, which is a self-described “activist investor” like Pershing, had
18    likewise been pushing for a Valeant/Allergan combination. Pearson and Morfit
19    were naturally very familiar with Pershing’s market reputation and aggressive
20    approach to making money for its investors, including handling unsolicited bids.
21

22    2 In addition, Morfit has been elected to the boards of a number of other companies

23    in which ValueAct has invested. For example, Morfit served on the board of
      directors of Advanced Medical Optics, Inc. (“AMO”) from 2007 through 2009,
24
      concurrently with James V. Mazzo, who served as AMO’s chairman from 2006
25    until AMO was acquired through a tender offer by Abbott Laboratories, Inc. in
      2009. In 2012, Mazzo was charged by the SEC for violations of Section 14(e) and
26
      Rule 14e-3 for tipping material, nonpublic information concerning Abbott’s plan to
27    launch a tender offer for AMO prior to the announcement of the deal, and later
      indicted by the U.S. Department of Justice. See Securities and Exchange
28
      Commission v. Mazzo, Case No. 12-01237-DOC (C.D. Cal.).
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 1          58.    During the February 4, 2014 meeting, Pearson and Ackman discussed
 2    Valeant’s business model and growth plans, and specifically reviewed several
 3    potential unsolicited acquisition targets, including Allergan. According to Ackman,
 4    the two specifically discussed how “Pershing Square could be helpful in situations
 5    where management of a target corporation was not receptive to an acquisition
 6    proposal.”   In other words, the whole purpose of Pearson’s and Ackman’s

 7    cooperation presumed the need to resort to hostile takeover tactics, which
      inevitably include the threat and/or implementation of a tender offer.
 8
            59.    It was also clear from the outset that Valeant – not Pershing – would
 9
      be acquiring Allergan, and that Pershing would have no control over the offer and
10
      no role in the combined company if the deal closed. In fact, Pearson flatly rejected
11
      the idea that Pershing or Ackman would have any say in managing the combined
12
      company if Valeant’s bid was successful, later testifying that “I don’t want
13
      [Ackman] on our board and our board doesn’t want him on our board,” and that
14
      Valeant was firmly opposed to anyone else from Pershing having any role
15
      whatsoever in the combined company.
16          60.    The fact that Pershing was to play no role in the combined company is
17    not surprising given that neither Ackman nor Pershing had any prior experience
18    investing in a pharmaceutical company, let alone running one. Indeed, Ackman
19    told investors during an April 22, 2014 conference that “we [had] never looked in
20    pharmaceuticals before,” explaining that “I [had] not actually looked at a
21    pharmaceutical Company of any consequence” before meeting with Pearson at
22    the beginning of the year.
23          61.    Instead, Ackman only became interested in pharmaceutical companies
24    after Pearson offered him the opportunity to trade on inside information concerning

25    one of the largest attempted tender offers in the history of the pharmaceutical

26
      industry. Because the trades were based on inside information – and would be
      profitable no matter what – and because Pershing would play no role in the
27
      combined company if the deal closed, Ackman’s lack of expertise or experience
28
      with pharmaceutical companies was irrelevant.
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 1              62.   Two days later, on February 6, 2014, Ackman and Pearson had a
 2    second telephone call during which they further discussed Valeant’s acquisition
 3    plans. As a result of those discussions, Valeant and Pershing agreed to enter into a
 4    confidentiality agreement in which Valeant would disclose a specific acquisition
 5    target to Pershing, and Pershing could then decide whether it would support the
 6    contemplated transaction, i.e., it would assess how serious Valeant was about

 7    following through with a bid.
                63.   Also on February 6, Valeant engaged Sullivan & Cromwell LLP as
 8
      counsel in connection with a potential Allergan transaction. It soon after retained
 9
      Skadden Arps Slate Meagher & Flom LLP and Osler Hoskins & Harcourt LLP to
10
      counsel it in connection with its takeover bid later that month.
11
                64.   On February 7, the Finance and Transactions Committee of Valeant’s
12
      Board held a conference call to discuss a potential combination with Valeant and
13
      Allergan. The presentation used at that meeting, which summarized Valeant’s
14
      “actions to date,” noted that Sullivan & Cromwell was “[p]ulling together key
15
      diligence items” and “[w]orking on structure and key actions to launch offer.” Of
16    course, friendly merger proposals are presented, while hostile tender offers are
17    “launched.” The presentation also stated that, at Valeant’s request, bankers at Bank
18    of America Merrill Lynch (“BAML”) and Goldman Sachs were “clearing
19    conflicts” so that, as Valeant CFO Schiller explained, Valeant could begin to “line
20    up financing” for a deal. Valeant’s Board and its committees subsequently met five
21    more times over the next two weeks to discuss Valeant’s takeover plans.
22              65.   Between February 7 and February 9, 2014, Sullivan & Cromwell
23    negotiated with Pershing’s counsel, Kirkland & Ellis, the terms of the
24    confidentiality agreement that Pearson and Ackman had discussed. On February 9,

25    2014, Valeant and Pershing executed the confidentiality agreement. Immediately

26
      thereafter, Pearson informed Ackman that Allergan was Valeant’s acquisition
      target.     The confidentiality agreement required that the identity of Valeant’s
27
      takeover target and interest in Allergan be kept strictly confidential, and included a
28
      provision acknowledging that the parties had been advised that “the United States
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 1    securities laws prohibit any person who has material non-public information about
 2    a company from purchasing or selling securities of such company on the basis of
 3    such information or from communicating such information to any other person
 4    under circumstances in which it is reasonably foreseeable that such person may
 5    purchase or sell such securities.”
 6          66.    Later that same day, Valeant’s Board held a conference call to discuss

 7    the confidentiality agreement, Pearson and Ackman’s discussions, and Valeant’s
      unsolicited pursuit of Allergan.
 8
                   3.     Allergan Publicly Opposes a Valeant Deal
 9                        and Pershing Forms A Funding Vehicle To
                          Secretly Acquire Allergan Shares
10
            67.    Armed with the material, nonpublic information that Valeant would be
11
      proceeding with a takeover of Allergan, Ackman and Pershing formed a limited
12
      liability company, “PS Fund 1,” on February 11, 2014. PS Fund 1 was formed
13
      pursuant to a Limited Liability Company Agreement between six Pershing entities,
14
      and its express purpose was to secretly acquire a near 10% toehold in Allergan,
15
      front-run the disclosure of Valeant’s bid, and subsequently support Valeant’s hostile
16    takeover plan.
17          68.    While taking these substantial steps in preparation for a tender offer
18    and hostile takeover, Valeant made a perfunctory overture to Allergan’s
19    management, which was immediately (and predictably) snuffed out.                Given
20    Allergan’s express and unequivocal rejections of Valeant’s prior advances, Valeant
21    knew that Allergan had no interest in a negotiated deal, and that a successful
22    takeover would require coercive tactics facilitated by the voting power of
23    Pershing’s near 10% stake in Allergan.
24          69.    On February 6, 2014, Pearson contacted Allergan and asked to set up

25    a meeting with David Pyott, Allergan’s CEO, to discuss a business combination.

26
      Although both parties knew that Allergan would likely reject any proposed
      takeover (as it had in the past), Allergan indulged Valeant, and a meeting between
27
      the CEOs was scheduled for February 15, 2014.
28

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 1          70.      Before the meeting could occur, however, Allergan vocally and
 2    publicly expressed its opinion that a combination between the companies was a
 3    non-starter.     For example, on February 10, 2014, analysts from Sanford B.
 4    Bernstein & Co. published a report on their meetings with Allergan’s senior
 5    management, which had informed Bernstein that the companies had “very different
 6    business models,” were “[n]ot a good fit,” and that “shareholders w[ould] hesitate

 7    to take Valeant paper.” These comments “poisoned the well” for any friendly deal.
      That same day, Bank of America Merrill Lynch (“BAML”) analysts published a
 8
      similar note indicating Allergan would be opposed to a Valeant transaction.
 9
            71.      Expecting Allergan’s opposition, Pearson and other senior managers at
10
      Valeant received and reviewed both of these reports when published, understood
11
      the not-so-subtle message, and cancelled the scheduled meeting with Pyott.
12
      Valeant CFO Schiller testified that, although Valeant had discussed the possibility
13
      of confidentially approaching Allergan to negotiate a friendly transaction in
14
      February 2014, that option was not pursued because, “based on all the data points
15
      we had, was that Mr. Pyott was – was, again, unlikely to be receptive.”
16          72.      Indeed, as Ackman later testified, Pearson cancelled the planned
17    meeting with Pyott on February 14, 2014 specifically because “Pyott very
18    assertively made clear [through the Bernstein and BAML analyst reports] that he
19    had no interest in a transaction publicly.” Ackman explained that he was in favor
20    of Pearson canceling the meeting with Pyott because he feared that if the meeting
21    took place, there was a higher risk of a “leak” to the market of Valeant’s interest in
22    Allergan.      Ackman’s ability to front-run Valeant’s takeover bid and purchase
23    Allergan shares from unwitting investors depended on the market remaining
24    ignorant of Valeant’s intentions, which only Ackman knew and appreciated.

25    According to Ackman:
            I thought there was a real risk – the biggest risk when you are going
26
            to be building a stake in a company is that leaks, and that the stock
27          price goes up and your opportunity to acquire shares becomes much
28
            more difficult.

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 1          73.    Allergan’s known enmity towards a transaction with Valeant was also
 2    clearly set forth in Valeant’s own internal documents, which confirm that
 3    Defendants always knew hostile tactics – including a tender offer – would be
 4    necessary. For example, an internal Valeant document dated February 16, 2014
 5    reflects that Valeant expected Allergan to adopt a shareholder rights plan or
 6    “poison pill” – a mechanism used by boards to defend against hostile takeovers –

 7    when Valeant approached Allergan with an offer.3 To remove the “pill,” Valeant
      would need to replace a majority of Allergan’s directors with new directors
 8
      beholden to Valeant who could remove the pill to allow a tender or exchange offer
 9
      to close.   Under Allergan’s bylaws, however, a special meeting to replace
10
      incumbent directors can only be called by holders of 25% of the outstanding
11
      common stock. Thus, Defendants knew that Pershing’s nearly 10% stake would go
12
      a long way to capturing enough votes to hold a special meeting.
13
            74.    In fact, Defendants have uniformly admitted that Valeant enlisted
14
      Pershing – and provided it with the opportunity to front-run Valeant’s bid and make
15
      billions in largely risk-free profits based on inside information – so it could use its
16    toehold as a jumping off point to call a special meeting to remove the expected
17    poison pill and thus allow the tender offer to close. Valeant knew that obtaining
18    the near 10% toehold stake would be critical to calling a special meeting and
19    electing directors that would support Valeant’s takeover plan.
20          75.    As Pearson later explained: “Getting to 10 percent was – or close to
21    10 percent without triggering any pill was important because in the end, we knew
22    it would come down to, you know, voting the board off or not.” Valeant also
23    knew that Ackman had expertise in waging the kind of hostile proxy contest that
24

25    3 Specifically, a poison pill is designed to dilute the ownership stake (and thereby

      its voting power) of a hostile potential acquirer (i.e., Valeant) once the acquirer
26
      crosses a certain percentage ownership threshold, often by issuing pro rata shares
27    to the other stockholders or giving them the option to buy shares at below market
      prices. See, e.g., Selectica, Inc. v. Versata Enters., Inc., 2010 WL 703062, at *12
28
      (Del. Ch. Feb. 26, 2010).
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 1    would be required to replace the Allergan Board – and would willingly support
 2    Valeant’s bid because doing so would only increase Ackman’s insider-trading
 3    profits. Similarly, Valeant’s CFO Schiller testified that “one factor” Valeant and
 4    Pershing discussed in their plans for Allergan in February 2014 was “Ackman’s
 5    ability to purchase 10% of Allergan stock, which would go a long way toward the
 6    25% needed to call a special meeting.”

 7          76.   Ackman also admitted that, in February 2014, the parties expected
      that they would need to call a special meeting to elect directors who would remove
 8
      the poison pill that would otherwise block completion of the anticipated tender
 9
      offer: “We were going to call a special meeting. The plan was to call a special
10
      meeting and replace the Board.”
11
            77.   Pershing’s “special advisor” Doyle testified that the very fact that
12
      Pershing had been recruited by Valeant meant that the parties recognized that the
13
      transaction would be hostile, as there would be no need for Pershing’s expertise if
14
      Valeant did not expect opposition. As Doyle explained, “The very fact that
15
      [Valeant was] contemplating working with us, with Pershing Square, means that
16    the probability – again, if they were going to negotiate a board to board merger
17    that was solicited or quietly negotiated, they – there wouldn’t be any need for
18    Pershing to be in the mix.”
19          78.   Defendants also knew from the beginning that their proxy contest
20    would go hand-in-hand with a tender offer because taking over a company simply
21    through a proxy contest is virtually impossible without the commitment and
22    credibility of having a firm and financially attractive offer on the table. As one
23    academic article explains, “proxy contests for control, without an accompanying
24    tender offer, are seldom successful.” Indeed, nearly every contested takeover

25    attempt during the past 10 years has involved a tender offer.
                   4.    Valeant Formulates Its Takeover Plans and
26                       Its Internal Documents Confirm that Valeant
                         Contemplated a “Hostile” Tender Offer
27
            79.   In addition to the evidence and admissions described above, and the
28
      fact that launching a tender offer would be the most logical means of pursuing a
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 1    deal, Valeant’s own internal communications confirm that, from the very
 2    beginning, Defendants knew that the transaction likely would proceed as a hostile
 3    tender offer.
 4          80.       For example, Valeant Board meeting materials prepared the week of
 5    February 14, 2014 specifically noted that the transaction would likely proceed as a
 6    “[h]ostile cash and stock merger.” Likewise, on February 15, 2014, Andrew Davis,

 7    Vice President of Business Development at Valeant, emailed Pearson with an
      attachment of a document stating that the “Allergan Opportunity” would be
 8
      realized by pursuing a “[h]ostile cash and stock merger.”
 9
            81.       Similarly, a February 16, 2014 Valeant presentation titled “Plan of
10
      Action” showed that Valeant expected Allergan to resist Valeant’s plan to “make an
11
      unsolicited cash and stock offer,” but given the “Pershing stake,” the “expectation
12
      [was] that we would have support to call special meeting.”
13
            82.       On February 16, 2014, the Valeant Board held a telephonic meeting to
14
      further discuss its plan to describe Pershing Square as a “co-bidder entity,” thus
15
      clearly contemplating a tender offer, as the term “bidder” logically implies a direct
16    offer to shareholders. Similarly, on February 18, 2014, Olser, Valeant’s Canadian
17    counsel, emailed Pershing’s counsel a document providing “Background Facts for
18    Proposed Acquisition Plan” that stated that “[i]f the transaction proceeds by way
19    of tender offer,” Pershing would be identified as a “co-bidder.’”
20          83.       Thus, Valeant’s own documents clearly demonstrate that it understood
21    that (i) any transaction would have to be hostile; (ii) the steps it had taken that
22    month would likely lead to a tender offer; and (iii) it (and Pershing) were violating
23    insider-trading laws but sought to characterize Pershing as a “co-bidder” in order to
24    later convince regulators, and this Court, of that fiction.

25          84.       On February 19, 2014, Morfit, members of Valeant’s senior

26
      management and its audit and risk committee discussed the structure of the
      contemplated Allergan acquisition with their lawyers from Sullivan & Cromwell
27
      and Olser, and formally decided to move forward. The next day, February 20,
28
      Valeant and Pershing amended the February 9, 2014 confidentiality agreement.
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 1    Over the next five days, between February 20, 2014 and February 25, 2014,
 2    Valeant, Pershing and their respective counsel negotiated the letter agreement and
 3    the terms pursuant to which Ackman would acquire the nearly 10% toehold in
 4    Allergan common stock.
 5          85.    As Valeant’s and Pershing’s lawyers exchanged drafts, Valeant’s
 6    Board continued to finalize the company’s acquisition plans. On February 21,

 7    Valeant’s Board met in Toronto to discuss the Allergan transaction, and also met
      with Ackman and Doyle, who attended a portion of the meeting and discussed
 8
      Pershing’s role in the transaction.
 9
            86.    Defendants’ discussions and negotiations ultimately resulted in the
10
      February 25, 2014 Relationship Agreement (the “February 25 Relationship
11
      Agreement”), which provided the formal “structure” that governed and facilitated
12
      Valeant’s and Pershing’s insider-trading scheme. The very drafting and negotiation
13
      of that document was itself a substantial step toward the Tender Offer. Moreover,
14
      drafts of the February 25 Relationship Agreement circulated between Defendants’
15
      counsel demonstrate that the parties were clearly anticipating a tender offer.
16    Specifically, numerous drafts of the February 25 Relationship Agreement expressly
17    identified a “tender offer” as the form of the transaction that the parties
18    contemplated, and described the role of the parties in the event the acquisition
19    proceeded as a tender offer. For example:
20                 (a)    On February 17, 2014, Defendants’ counsel circulated an email
21                        attaching a draft of the Relationship Agreement, stating that “If
22                        the transaction proceeds by way of tender offer, [Pershing] will
23                        be identified as a co-bidder and, if by way of merger, [Pershing]
24                        will be identified as soliciting person.”

25                 (b)    On February 18, 2014, Valeant’s counsel emailed Pershing’s

26
                          counsel a draft that similarly stated that if the “transaction
                          proceeds by way of tender offer, [Pershing] will be identified as
27
                          a co-bidder.”
28

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 1                  (c)    On February 20, 2014, Ackman sent Pearson a draft of the
 2                         Relationship Agreement that Ackman described as his attempt
 3                         “to put something together that attempted to contemplate issues
 4                         that would be important to you.” One such “important” issue
 5                         was that if “a Company Transaction is being pursued by
 6                         [Valeant] through a tender offer . . . [Pershing] and the Co-

 7                         Bidder Entity will be identified as co-bidders.”
                    (d)    A February 23, 2014 draft of the Relationship Agreement
 8
                           circulated among Ackman and Valeant general counsel Robert
 9
                           Chai-Onn likewise states that if “a Company Transaction is
10
                           being pursued by [Valeant] through a tender offer . . . each of
11
                           the Company, [Pershing] and the Co-Bidder Entity will be
12
                           identified as co-bidders.”
13
                    (e)    A February 24, 2015 draft of the Relationship Agreement noted
14
                           that the “consent of both [Pershing] and the [Valeant] shall be
15
                           required for either party to launch a tender offer or an
16                         exchange offer” and if the “Transaction is being pursued by
17                         [Valeant] through a tender offer…each of [Valeant], [Pershing]
18                         and the Co-Bidder Entity will be identified as co-bidders or
19                         soliciting persons, respectively.”
20           87.    Thus, drafts of the very document establishing the mechanism through
21    which Ackman would acquire Allergan shares, on their face, evidence that Valeant
22    was contemplating a hostile tender offer all along. In fact, it was only very late in
23    the drafting process, on February 24, that Defendants inserted a self-serving and
24    misleading disclaimer into the Relationship Agreement stating that the parties

25    “acknowledge that no steps have been taken towards a tender or exchange offer for

26
      securities of Allergan.”
             88.    But stamping the words “no steps have been taken” on a document
27
      does not make it so. To the contrary, the act of denying the occurrence of events
28
      that create liability only proves the basis for that liability.
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 1          89.    The fact that this language was inserted at the last minute – and that
 2    prior drafts which explicitly cite to a “tender offer” as the contemplated form of the
 3    transaction and the specific roles that each party would play if the transaction
 4    proceeded as a tender offer – establish that substantial steps had been taken by the
 5    time the parties signed the February 25 agreement. As reflected in a February 16,
 6    2014 email among Valeant General Counsel Robert Chai-Onn and Valeant’s

 7    counsel, Defendants’ attempt to affix the “co-bidder” label to their relationship
      appears to have been motivated by their lawyers’ concern that regulators might be
 8
      “offended by a party other than a bidder benefitting from a toehold.”
 9
            90.    Regardless of the “co-bidder” misnomer, and consistent with the
10
      parties’ actual roles in the transaction, the February 25 Relationship Agreement
11
      made clear that Valeant was the “offering person” and PS Fund 1, at Pershing
12
      Square’s direction, was an “other person” that was prohibited from trading under
13
      Rule 14e-3. As set forth more fully below, under the Relationship Agreement,
14
      Valeant retained unilateral control over the terms, timing and conditions of the
15
      offer – including the unilateral discretion to terminate the bid altogether or whether
16    it would even be made in the first place. Specifically, under the Relationship
17    Agreement, Valeant was able to terminate the contract upon notice to Pershing that
18    “it is not interested in consummating” a transaction with Allergan – a right it later
19    exercised.
20          91.    Pershing, by contrast, had the sole authority over the management of
21    PS Fund 1, including the manner in which Pershing would acquire PS Fund 1’s
22    Allergan stake. Moreover, Pershing retained the authority to act on behalf of its
23    own self interest, as the Relationship Agreement specifically provided that it would
24    terminate if a “Third Party Transaction Proposal” – a public proposal for Allergan

25    by a bidder other than Valeant – was made and Valeant failed to match or exceed

26
      that proposal within 45 days. In fact, if Valeant was outbid, Pershing’s only
      obligation was to kick back 15% of its insider trading profits to Valeant.
27

28

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 1          B.       Front-Running Valeant’s Tender Offer, Ackman
                     Secretly Acquires Billions Of Dollars In Allergan Stock
 2
            92.      The very same day Valeant and Allergan signed the February 25, 2014
 3
      Relationship Agreement, Ackman initiated his covert campaign to acquire nearly
 4
      10% of Allergan’s stock from unwitting Allergan shareholders (i.e., the Class)
 5
      while in possession of material non-public information regarding Valeant’s
 6
      anticipated hostile tender offer. Pershing’s secret accumulation of Allergan stock
 7    (the vast majority of which was acquired through derivative transactions) through
 8    its PS Fund 1 entity was carefully designed to conceal Pershing’s identity and
 9    avoid triggering regulatory disclosure requirements that would alert investors to
10    Valeant’s takeover plans.
11          93.      Pershing began acquiring Allergan shares at a time when it
12    indisputably had material nonpublic information relating to Valeant’s forthcoming
13    tender offer, in violation of Rule 14e-3’s insider trading prohibition. Rule 14e-3
14    provides that, whenever any person who has taken “a substantial step or steps” (the
15    “offering person”) to commence a tender offer of a target company, any “other

16    person” who is in possession of material nonpublic information relating to that

17
      tender offer is prohibited from purchasing or selling any securities of the target
      company, unless the information is publicly disclosed within a reasonable time
18
      prior to the purchase or sale. The rule applies regardless of whether the trader
19
      owes or breaches any duty to respect the confidentiality of the nonpublic
20
      information.
21
            94.      Here, there is no question – and Defendants have admitted as much –
22
      that Ackman and Pershing traded while in possession of material, nonpublic
23
      information relating to Valeant’s bid and contemplated tender offer.          Indeed,
24
      Ackman and Pearson admitted in an April 24, 2014 Bloomberg interview that
25    Ackman possessed material, non-public information concerning Valeant’s takeover
26    plans that the rest of the market did not:
27          Bloomberg: But people who sold you Allergan in the last week could
28                         say you knew something that we didn’t.

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 1          Ackman:      And we did. Absolutely. We partnered with Valeant for
 2                       the purpose of helping catalyze the combination between
 3                       the two businesses.
 4          95.    In fact, Defendants went to extraordinary lengths to keep Valeant’s
 5    takeover plans hidden from investors, as reflected in numerous internal documents.
 6    For example, a document titled “Background Facts for Proposed Acquisition Plan”
 7    circulated among Pershing and Valeant’s counsel the week of February 17, 2014
 8    made clear the acquisition strategy was deliberately designed to avoid triggering
 9    regulatory disclosure rules and to enable Pershing to acquire its Allergan stake in

10    secret. As that document reflects, the parties agreed that Valeant would contribute
      only $75.9 million to PS Fund 1 once Pershing reached a certain threshold
11
      percentage of Allergan shares, precisely because that “would keep [Valeant’s]
12
      interest below the Hart-Scott Rodino [(“HSR”)] filing threshold.”
13
            96.    Further, PS Fund 1 was intentionally designed so that it could be
14
      characterized as the “‘ultimate parent entity’ for Hart-Scott Rodino purposes,
15
      meaning that neither [Valeant] nor any [Pershing] fund with an interest in [PS Fund
16
      1] would be required to obtain HSR clearance for acquisitions of shares by [PS
17
      Fund 1].” Defendants specifically sought to avoid HSR disclosure requirements by
18
      requiring that five separate Pershing entities “own” the vehicle through which
19    Pershing acquired its near 10% Allergan stake – another means Defendants used to
20    conceal Pershing’s insider trading.
21          97.    In addition, “[p]rior to the public announcement of the transaction,”
22    PS Fund 1’s acquisition of Allergan shares was to be conducted “consistent with
23    HSR filing exemptions” so that Pershing would not be required to disclose its
24    position to the market before Valeant announced its hostile bid. Indeed, to further
25    minimize the risk of a leak that Ackman’s growing Allergan position (if
26    discovered) was connected to a Valeant bid, neither Pearson, Valeant, nor any other
27    Valeant entity or employee became a party to the PS Fund 1, LLC agreement on

28

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 1    February 11, 2014 – and did not contribute any actual funds to the entity until April
 2    3, after Ackman had already obtained a nearly $2 billion stake.
 3          98.    Under Pershing’s direction and with Valeant’s approval, on February
 4    25 and 26, 2014, PS Fund 1 acquired approximately 600,000 shares of Allergan
 5    stock, an amount just short of the $75.9 million in stock that would have required
 6    disclosure by Valeant – which, unlike Pershing, was an Allergan competitor –

 7    under the Hart-Scott Rodino Act.
            99.    Next, between March 3, 2014 and April 8, 2014, Pershing directed PS
 8
      Fund 1 to acquire another $2 billion worth of Allergan shares – or approximately
 9
      4.9% of Allergan’s outstanding common stock – through deep in-the-money,
10
      American-style, over-the-counter (“OTC”), zero-strike call options. Each of PS
11
      Fund 1’s trades were executed through a single counterparty, Nomura International
12
      plc (“Nomura”).      Using only Nomura to execute this huge mass of trades
13
      minimized the risk that other investors would become aware of Ackman’s trading.
14
            100. While Pershing deliberately employed options trades to avoid
15
      detection of the huge position it was amassing – as HSR only requires disclosure of
16    ownership of stock with voting rights – the options gave PS Fund 1 effective
17    ownership of Allergan stock. PS Fund 1’s options trades had strike prices of less
18    than $1.35 per share, or roughly 100 times less than the actual price of Allergan
19    stock on the day the transactions were executed.         Because these options had
20    extraordinarily low strike prices, PS Fund 1 effectively paid the full value of the
21    shares to acquire them – posting billions of dollars in collateral to Nomura – and
22    paid less than $1.35 per share to convert the options into shares of Allergan stock.
23    Moreover, unlike a traditional option – which enables a trader to walk away from
24    the trade without incurring the full out-of-pocket cost of, and the potential full loss

25    that would come from, acquiring the shares directly – Pershing was fully exposed

26
      to any decline in Allergan’s stock price.
            101. As Ackman admitted during an April 22, 2014 investor call, “what we
27
      do here is we are buying a very deep-in-the-money call option. We are buying
28

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 1    options with a strike price of $1.20. On a stock trading for $125 there are 1% strike
 2    options. They act economically, identically, to shares.”
 3          102. Ackman explained that, even though PS Fund 1 acquired its shares
 4    through Nomura, PS Fund 1’s trading activity was reflected through actual open
 5    market purchases on the NYSE because “our dealer in order to hedge the options
 6    they sell to us has to go into the market.” Illustrating the point using the chart

 7    below, Ackman explained that “this is a chart that shows our stock purchases. Our

 8
      purchases began on February 25 and that number in yellow on the bottom was
      what percentage of the volume we were on each of those days,” making clear that
 9
      PS Fund 1 purchases were made contemporaneously with the sales of Allergan
10
      shares by the members of the Class:
11

12

13

14

15

16

17

18

19

20
21

22          103. Ackman acknowledged the options PS Fund 1 acquired were no
23    different than purchasing the actual underlying Allergan shares, explaining that the

24    only reason that PS Fund 1 did not acquire Allergan shares outright was to avoid

25
      detection by the marketplace. As Ackman explained during an April 24, 2014
      Bloomberg interview, PS Fund 1’s options were “the exact same exposure
26
      economically as if we owned the stock,” where “every dollar the stock goes up we
27
      benefit by one dollar.” Ackman explained that PS Fund 1 acquired options that
28
      behaved “just like the common stock” because “we weren’t look[ing] for
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 1    optionality. We were looking for a way to be exempt from the requirement, be
 2    allowed to get economic exposure without having to file first with the FTC, which
 3    would give the company notice that we were interested in the stock.” Indeed, as
 4    later disclosed in Pershing’s Schedule 13D filing, the cost basis for PS Fund 1’s
 5    option contracts were $3.14 billion – meaning that Pershing expended an amount
 6    that was just shy of the actual value of the underlying shares PS Fund 1 acquired.

 7          104. By April 8, 2014, PS Fund 1 had acquired the equivalent of 4.9% of
      Allergan’s outstanding common stock – an amount just below the 5% threshold
 8
      that would have required PS Fund 1 to disclose its ownership of the shares under
 9
      Section 13(d) of the Exchange Act. Under Section 13(d), a “beneficial owner” of
10
      more than 5% of a company’s voting shares is required to file a Schedule 13D
11
      which must disclose, among other things, any plans or proposals that would result
12
      in an acquisition or change in the board of directors or management.              That
13
      disclosure must be made within 10 days of crossing the 5% threshold – a
14
      requirement that was put in place in 1968, a time long before technological
15
      advances made a rapid accumulation of shares like PS Fund 1’s possible.
16          105. As with every other step in the plan, Pershing’s decision to stop just
17    short of the 5% threshold provided a strategic benefit to both Ackman (by
18    maximizing his ability to buy shares without detection by the Allergan
19    shareholders he sought to fleece) and Valeant (by allowing Valeant alone to control
20    when and how it could announce its Allergan offer so as to create maximum
21    pressure on Allergan’s Board and management).
22          106. Once PS Fund 1 had acquired a stake just shy of the 5% threshold,
23    Pershing halted trading for two days (on April 9 and 10) to let Allergan’s stock
24    price settle back down after having been driven upward through the high volume of

25    Pershing’s trades.   Knowing the 10-day clock to file a Schedule 13D would

26
      immediately begin to run upon the next significant trade, on April 11, PS Fund 1
      began what Pershing itself termed its “rapid accumulation program,” during which
27
      PS Fund 1 crossed the 5% threshold and immediately began purchasing another $2
28

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 1    billion in Allergan shares in the ten days before PS Fund 1 was required to file a
 2    Schedule 13D.
 3          107. By April 21, 2014, PS Fund 1 had acquired shares representing nearly
 4    10% of Allergan’s outstanding common stock through deep in-the-money OTC call
 5    options and OTC equity forwards. Like the OTC call options, the equity forward
 6    contract PS Fund 1 entered into with Nomura enabled PS Fund 1 to purchase 3.45

 7    million Allergan shares, providing the functional equivalent of actual ownership.
      As Ackman admitted, Nomura acted just like a broker, and in fact acquired the
 8
      common shares correlating to its contracts requiring the delivery of those shares to
 9
      Pershing.   In other words, every time Pershing bought an option to acquire
10
      Allergan stock, Nomura actually acquired those shares so as not to expose itself to
11
      losses if the stock price at a later date did not track the contract price with
12
      Pershing.
13
            108. In fact, when PS Fund 1’s options were actually exercised on May 1,
14
      2014 and PS Fund 1 formally “converted” its options into 24.8 million shares of
15
      Allergan, the daily trading volume for Allergan common stock on that day was
16    only 3.7 million total shares. The fact that the entire NYSE trading volume for
17    Allergan stock on the conversion date was far below the actual amount of stock
18    that PS Fund 1 “converted” on May 1, 2014 further corroborates Defendants’
19    admissions, and demonstrates that Nomura had already covered the options trades
20    during the Class Period, long before Allergan exercised them – confirming that PS
21    Fund 1’s options contracts were, in substance, actual ownership of Allergan shares.
22    Indeed, both Ackman and Pearson repeatedly claimed during the April 22, 2014
23    investor conference call announcing Valeant’s takeover bid for Allergan that
24    Ackman was “Allergan’s largest shareholder,” even though PS Fund 1’s options

25    had not been exercised and would not be exercised for another 10 days.
            C.    Pershing Discloses Its 9.7% Stake In Allergan And
26                Defendants Launch Their Hostile Takeover
27          109. After the close of trading on April 21, 2014, the last possible day that
28    PS Fund 1 could file a Schedule 13D and report its interest in Allergan, Pershing

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 1    shocked investors by disclosing that it had secretly acquired a substantial 9.7%
 2    toehold in Allergan and Valeant announced it was launching a takeover bid.
 3          110. The next day, on April 22, 2014, Valeant delivered to Allergan a
 4    formal, unsolicited proposal offering to acquire Allergan for $48.30 in cash and .83
 5    of Valeant stock per Allergan share – representing a price per share of
 6    approximately $160 per share and a value of over $46 billion based on Valeant’s

 7    then-stock price. In the April 22, 2014 “bear hug” proposal, Pearson described the
      purported benefits of Valeant’s offer, specifically touting that Pershing, as
 8
      “Allergan’s largest shareholder,” was “strongly in favor of the combination.”
 9
      Pearson likewise explained that the Defendants knew the transaction would be
10
      hostile “given that Allergan has not been receptive to our overtures for over
11
      eighteen months and has made it clear both privately and publicly that it is not
12
      interested in a deal” with Valeant.
13
            111. In an investor presentation announcing the offer and Pershing’s 10%
14
      position, Ackman made clear that Valeant and Pershing expected the transaction to
15
      be hostile, and that a tender offer was quite possible, if not imminent. Specifically,
16    when asked about the “commitment to the process of getting the hostile deal
17    effective” and whether there was “an exchange offer to be launched,” Ackman did
18    not deny that such an offer had been planned all along given Allergan’s prior
19    rejections of Valeant’s “friendly” overtures. To the contrary, Ackman explained:
20          So we’re committed. We’re contractually committed, again, after we
            did our due diligence and decided we wanted this deal, we are
21
            contractually committed to take it unless and until there’s a superior
22          offer that Valeant chooses not to respond to. So as long as this deal
            happens, you know, we’re in. You know, the best evidence that we’re
23
            in is the scale of our commitment as a percentage of our capital and
24          the scale of our commitment on an absolute basis….You know, in
25
            terms of what we’ll do from here, I think that anyone in the room
            who talks to a good M&A attorney will understand, you read the
26          documents on the company, there are opportunities to call special
27
            meetings, there are opportunities for investors to launch various
            kinds of offers. You should assume that we’re familiar with all
28          these various techniques.

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 1

 2
            112. Ackman’s admission that an exchange offer was on the horizon was
      no accident or off-the-cuff response to an unexpected question. Indeed, Valeant’s
 3
      own press materials that had been prepared in advance of the April 22, 2014
 4
      announcement similarly demonstrate Valeant was contemplating a tender offer, and
 5
      that Valeant would pursue a hostile deal in whatever form it might take.
 6
      Specifically, a draft “Q&A” emailed by Valeant’s public relations consultant to
 7
      Valeant’s head of Investor Relations, Laurie Little, on April 17, 2014, asked:
 8
            Question: Are you willing to launch a tender offer to get this deal done?
 9
            Answer:       We would prefer to negotiate with [Allergan] on a friendly
10
                          basis. However, we are firmly committed to completing this
11
                          transaction.
12
            113. Nobody else from Valeant or Pershing suggested that the transaction
13
      would proceed as a “friendly” negotiation during the April 22, 2014 investor
14
      presentation. For example, Valeant CFO Schiller explained that although “we’re
15    happy to sit down…and talk to Allergan,” he admitted that he “personally” was
16    “not a big fan” of the company, and neither Pearson nor Ackman disagreed with an
17    investors’ characterization of Valeant’s offer as a “hostile deal.”
18          114. Following the filing of the Schedule 13D disclosing Pershing’s 9.7%
19    stake and Valeant’s hostile takeover plans, Allergan shares shot up nearly 20%—
20    delivering nearly $1 billion in illicit insider trading profits to Ackman in a single
21    day. In fact, from the time Ackman initiated PS Fund 1’s hidden buying spree,
22    Allergan’s stock price went from $125.54 per share on February 25, 2014, and
23    $116.63 prior to Ackman’s “rapid accumulation program,” to close at $163.65 per

24    share on April 22, 2014, the day Valeant’s acquisition proposal was announced.
      While the share price increase on April 22 alone delivered a $1 billion paper profit
25
      to Ackman, the unlawful gains reaped from Defendants’ insider trading only
26
      continued to grow as Valeant’s announcement predictably put the target, Allergan,
27
      into play, ultimately resulting in an historic bidding war benefitting Pershing but
28

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 1    damaging Class members who sold their shares when Ackman acquired his 10%
 2    stake.
 3             115. As expected, on April 22, 2014 – the same day Valeant issued its “bear
 4    hug” proposal – Allergan’s Board adopted a “poison pill” with a 10% trigger,
 5    effectively blocking Pershing and Valeant from acquiring more shares of Allergan’s
 6    common stock.4

 7             116. Once Defendants filed their Schedule 13Ds, Valeant announced its
      hostile proposal, and Allergan adopted the poison pill, Defendants continued to
 8
      behave as if a tender offer was what Valeant intended all along.
 9
               117. Indeed, Valeant knew that its “friendly” offer to “negotiate” its
10
      unsolicited proposal was just the first step of building pressure, leading to the
11
      inevitable tender offer. M&A professionals recognize, and history makes clear,
12
      that unsolicited and public “bear hug” proposals like the one Valeant made on April
13
      22 are merely the opening salvo in a hostile bidder’s takeover campaign.
14
               118. To further support the impending tender offer, Defendants conducted
15
      an aggressive media blitz, including pre-packaged investor presentations
16    trumpeting the “synergies” of a deal and Allergan’s shortcomings as a stand-alone
17    company, as well as direct outreach to Allergan stockholders, employees, and
18    customers. For example, on April 28, 2014, Valeant tried create a sense of urgency
19    in the market by telling analysts that the likelihood of another bidder emerging was
20    low, that “[t]ime [was] of the essence,” and that Allergan should not “take more
21    than about 30 days” to evaluate Valeant’s proposal.
22             119. Along similar lines, during Valeant’s May 8, 2014 first quarter
23    earnings call, Valeant’s CFO Schiller, told investors that he had been traveling
24    across the country to meet with Allergan’s top stockholders and claimed that “[s]o

25
      4 Under Allergan’s poison pill, or “Rights Agreement,” stockholders received one
26
      preferred share purchase right for each outstanding share of the Company’s stock
27    that they owned, which would be become exercisable once any unapproved person
      or group – i.e., Pershing and/or Valeant – acquired a beneficial ownership of 10%
28
      or more of Allergan’s common stock.
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 1    far, all of the feedback has been overwhelmingly positive.” Irrespective of whether
 2    this claim was true, the intent was clearly to garner Allergan stockholders’ support
 3    for the imminent tender offer. In fact, during that same earnings call, Schiller
 4    confirmed that more aggressive measures were forthcoming, explaining that
 5    Valeant and Pershing would request a stockholder list from Allergan in order to
 6    “commence a shareholder referendum that will determine that the Allergan

 7    shareholders are supportive of Allergan’s Board engaging in negotiations with us.”
      Schiller also made clear that Valeant and Pershing were willing to bypass the
 8
      Board entirely, stating that “if necessary, we will also pursue holding a special
 9
      meeting to remove some or all of the Allergan board members.”
10
               120. Throughout April and May 2015, Valeant also communicated directly
11
      with Allergan’s customers and employees – another tactic employed to facilitate
12
      the tender offer.     Among other things, Valeant:      (i) represented to Allergan’s
13
      customers that Valeant’s takeover was a “done deal” and Valeant “own[ed]”
14
      Allergan; (ii) offered rebates on Allergan products; (iii) contacted Allergan sales
15
      representatives to “welcome” them to Valeant; (iv) had Valeant sales
16    representatives contact Allergan customers and announce that they were taking
17    over for Allergan’s sales representatives; (v) told Allergan customers that certain
18    product lines would be divested; and (vi) wrote to Valeant customers to outline
19    plans for the joint company going forward.
20             121. Needless to say, overtly hostile tactics like this are inconsistent with
21    any sincere hope of achieving a negotiated friendly deal.            Rather, Valeant’s
22    publicity stunts and other public statements were simply part of the hostile
23    acquisition playbook – i.e., putting pressure on a target, turning target stockholders
24    against its board and management, and priming their support for an eventual tender

25    offer.

26
               122. In fact, these were the same tactics Valeant employed just three years
      earlier in its unsuccessful takeover of Cephalon, Inc. (“Cephalon”), another
27
      biopharmaceutical company, in which Valeant threatened to launch a tender offer
28
      after Cephalon’s board had invoked a poison pill. In Valeant’s pursuit of Cephalon,
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 1    Valeant used the same hostile playbook and was represented by the same lawyers
 2    that served as counsel in its takeover of Allergan. After Valeant’s offer was
 3    rejected by Cephalon’s board, Valeant sought to appeal “directly to shareholders”
 4    by electing a new slate of directors who would “remove [the] Poison Pill and other
 5    impediments to a possible tender offer” – which, like here, would enable Valeant to
 6    “commence [a] Tender Offer” when “negotiations” failed.
            D.     Valeant Alone Was the Bidder, While Pershing Was
 7                 Only a Seller And “Other Person” Under Rule 14e-3
 8          123. The legal effect of Defendants’ economic bargain was clear: Valeant
 9    was the sole “offering person” seeking to acquire Allergan, and Ackman and
10    Pershing were “other persons” who were prohibited from trading on material non-
11    public knowledge of Valeant’s tender offer plans. The parties’ arrangement here is
12    virtually identical in substance to the forbidden practice of “warehousing” – i.e.,
13    the “practice by which bidders leak advance information of a tender offer to allies
14    and encourage them to purchase the target company’s stock before the bid is
15    [publicly] announced” – that was squarely targeted by the SEC in its adoption of

16    Rule 14e-3. See United States v. O’Hagan, 521 U.S. 642, 672 n.17 (1997).

17
            124. Here, Valeant was the only person publicly offering to buy Allergan
      shares, the only person seeking to acquire or control Allergan, and would be the
18
      only party that would maintain that control if the offer had been successful.
19
            125. Pershing, by contrast, was expressly denied any sort of control or
20
      management over Allergan by Valeant and expressly had no control over how
21
      much or what terms Valeant offered to buy Allergan’s shares. Rather, Pershing
22
      acted in a classic “warehousing” role – a large, friendly institutional investor that is
23
      provided a “tip” of an upcoming tender offer and acquires shares of the target
24
      company from its unsuspecting shareholders (cheaply and without having to pay a
25    control premium) in exchange for the agreement to support the bid proposed by the
26    “offering person” once the tender offer is announced. Pershing enjoyed inside
27    trading profits at the expense of the selling shareholders, and Valeant enjoyed a
28

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 1    near 10% “head-start” in acquiring Allergan, but without the burden of a
 2    significant out-of-pocket cost.
 3          126. Pershing contractually agreed to provide Valeant voting support, and
 4    had no say whatsoever regarding the terms of the tender offer – including the form,
 5    timing or amount of consideration, or whether it would even occur at all. While
 6    the February 25, 2014 Relationship Agreement required Valeant to consider “in

 7    good faith” Pershing’s “comments” on any proposed terms of the offer or the
      manner in which it was carried out, Valeant, as the sole “offeror,” retained final and
 8
      complete discretion on whether to make a bid and to set its terms.
 9
            127.    In fact, Pearson highlighted during the April 24, 2014 Bloomberg
10
      interview that Ackman had no control over the terms of the offer, but rather acted
11
      solely as a “warehouse” and a cheap way for Valeant to obtain a friendly toehold.
12
      Specifically, in response to a Bloomberg reporter who pointedly asked about
13
      Ackman purchasing Allergan shares “at a price much lower than where Allergan
14
      stock is today,” Pearson explained that Valeant needed Pershing to acquire the
15
      toehold because Valeant “did not have $4 billion sitting at the bank.” Moreover,
16    Pearson said, Valeant retained complete control over the bid and whether it would
17    even occur, explaining that even after Ackman had acquired a near 10% stake,
18    Valeant “could have chosen not to” go through with the bid and, in any event, “the
19    price we would have set for – paid for Allergan is the same with or without Bill.”
20    Pearson explained that while it could have paid an investment bank like Goldman
21    Sachs to help it run a tender offer and proxy contest for Allergan instead of
22    “partnering” with Ackman, the problem was that “[w]e would have to pay for it.”
23    Of course, Valeant could not have compensated a bank with a tip regarding its
24    plans and an opportunity to make trading profits based on that inside information,

25    and the economic reality of what Pershing did here is no different, and similarly

26
      prohibited.
            128. Consistent with Pershing’s role as a separate and distinct “other
27
      person” prohibited from trading on its inside knowledge of Valeant’s tender offer
28
      plans, Pershing retained unilateral control over the PS Fund 1 purchasing entity
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 1    and how the nearly 10% toehold in Allergan stock was acquired. Under the
 2    February 25 Relationship Agreement, Pershing was to “direct the management” of
 3    PS Fund 1. In fact, Valeant was not even a party to PS Fund 1 until April 3, 2014,
 4    and did not contribute any capital to PS Fund 1 until April 10, 2014. By that time,
 5    PS Fund 1 had already acquired 11 million Allergan shares worth over $1.2 billion.
 6          129. Further, and as eventually happened, Pershing retained the right to

 7    accept a higher bid for its shares by another offeror – with the parties’ agreement
      specifically permitting Pershing to act on behalf of its own independent interests
 8
      (even if they conflicted with Valeant’s). In fact, the parties’ agreement dissolved –
 9
      with 15% of PS Fund 1’s profits distributed to Valeant and the rest to Pershing – if
10
      a competing bidder other than Valeant came along with a public proposal to
11
      acquire Allergan, and Valeant did not match or exceed the competing proposal
12
      within 45 days.     Consistent with Defendants’ understanding that trading on
13
      nonpublic information concerning Valeant’s bid would deliver Ackman virtually
14
      risk-free profits, the Relationship Agreement provided for the division of “Net
15
      Transaction Profits” – but not losses – if there was a successful competing bid.
16    Valeant, by contrast, retained virtually unilateral and complete control over the
17    offer, and would retain complete control of Allergan if the tender offer was
18    successful and the merger closed.
19          130. Indeed, Defendants’ public statements confirm that the parties viewed
20    themselves, in both form and substance, as wholly separate “persons” with distinct
21    roles in Valeant’s takeover bid. For example, Valeant’s April 22, 2014 unsolicited
22    proposal described Pershing as “Allergan’s largest shareholder” and a “co-
23    proponent of the transaction,” but, critically, not a merger counterparty for or
24    acquirer of Allergan. During an investor conference call discussing the proposal

25    that same day, Ackman similarly described Pershing as “the largest shareholder of

26
      Allergan,” but not an offering person seeking to acquire anymore Allergan shares.
            131. In fact, during the April 22, 2014 conference call announcing
27
      Valeant’s bid, Ackman specified that “I am not the one making the offer,” and
28
      confirmed that he had little control over Valeant’s proposal, stating that “we bought
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 1    a big stake in this Company[, but] had no assurance that [Valeant] would come
 2    and make an offer for the business.” Ackman also confirmed that “Valeant was
 3    giving [Pershing] inside information on Valeant” before Pershing’s secret
 4    purchasing program regarding Valeant’s plans concerning Allergan.
 5          132. For his part, Pearson confirmed that, in exchange for Valeant’s
 6    disclosure of inside information to Pershing, all Pershing had to do was acquire its

 7    own toehold and pledge to vote those shares in favor of Valeant’s tender offer.
      During the April 22, 2014 analyst call, Pearson explained that Pershing was
 8
      Allergan’s “largest shareholder with 9.7%” and that Pershing was “going to
 9
      support the transaction,” never suggesting that Pershing was anything but a
10
      shareholder and willing seller.
11
            133. After Valeant publicly announced its bid on April 22, 2014, Valeant
12
      and Pershing continued to make repeated public statements confirming that Valeant
13
      was the “offering person” that had unilateral control over its own bid, while
14
      Pershing was just an ordinary, self-interested Allergan stockholder looking to
15
      maximize value. Indeed, during a May 28, 2014 investor conference, Pearson
16    made clear that Pershing had absolutely no influence over Valeant’s bid, telling
17    investors unequivocally that “Pershing Square is – they have no control of what
18    we do.” Likewise, during a June 17, 2014 investor call, Pearson admitted that
19    while Ackman had “committed to vote for [Valeant’s] deal,” Valeant did not
20    otherwise have any “voting control over his shares or any economic control” over
21    Pershing’s stake.
22          134. Similarly, Pershing did not describe itself as a potential acquirer of
23    Allergan, and corrected others if they inaccurately suggested it was. For example,
24    in a May 5, 2014 letter from Ackman to Michael Gallagher, Allergan’s Lead

25    Independent Director, Ackman wrote: (i) “As Allergan’s largest shareholder with

26
      9.7% of the common stock, we look forward to working with you and the rest of
      the board to maximize value for all Allergan shareholders”; and (ii) “As Allergan’s
27
      largest shareholder, we are supportive of Allergan making the best possible deal
28
      with Valeant or identifying a superior transaction with another company.”             If
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 1    Ackman was a true co-bidder, he would want his bid to prevail, not to simply see
 2    Allergan sold to the highest bidder, whoever that may be.
 3          135. Similarly, Ackman’s May 12, 2014 letter to Matthew Maletta,
 4    Allergan’s Associate General Counsel and Secretary, which demanded the
 5    inspection of Allergan’s books and records under Delaware General Corporation
 6    Law Section 220, stated: “The purpose of this demand is to enable the Requesting

 7    Stockholder to communicate with fellow stockholders of the Company on matters
      relating to their mutual interest as stockholders . . . including, without limitation,
 8
      the solicitation of views regarding Valeant Pharmaceuticals International Inc.’s
 9
      proposal to acquire the Company.” A true co-bidder would not share a “mutual
10
      interest” with other Allergan stockholders concerning Valeant’s bid or solicit their
11
      views in the abstract; it would be soliciting affirmative support for the bid.
12
            136. On May 19, 2014 Ackman wrote Gallagher again and continued to
13
      describe Pershing as just another concerned stockholder, with no interest other than
14
      maximizing Allergan share value, regardless of who the bidder was. Ackman
15
      wrote that “[b]ased on conversations [Pershing] had with other Allergan
16    shareholders . . . , [Pershing] believe[d] that the majority of Allergan shareholders
17    [we]re interested in a potential business combination with Valeant.” Referring to
18    Pershing, Ackman complained that he “f[ou]nd it inappropriate that Allergan’s lead
19    independent director was unwilling to speak to a shareholder without management
20    present,” and claimed that “it is rare that a shareholder is willing to candidly share
21    its views with a Chairman/CEO who will likely lose his job as a result of a
22    proposed transaction.” Ackman also took steps to distance Pershing from Valeant,
23    noting that “Mr. Pyott has also apparently criticized Pershing Square, explaining
24    that [its] views should not be considered, as . . . conflicted because of [its]

25    relationship with Valeant. To set the record straight, Pershing Square is Allergan’s

26
      largest shareholder with nearly 10% of the common stock of the company. We
      own no shares of Valeant stock, nor do we have any undisclosed arrangements
27
      with Valeant. We are interested only in maximizing the value of our investment
28
      in Allergan.”
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 1          137. Even after the tender offer was “officially” launched, Pershing
 2    continued to position itself publicly as a stockholder looking to maximize its
 3    investment in a strategic transaction, not as a transaction counterparty.          For
 4    example, on July 16, 2014, Ackman wrote to Allergan’s Board that, if the Board’s
 5    allegations of Valeant “malfeasance” are true, “then as Allergan’s largest
 6    shareholder with a $5 billion investment we would of course strongly oppose a

 7    Valeant transaction.” A true co-bidder, of course, would not “strongly oppose” its
      own bid; nor could it “bid” for its own shares.
 8
            138. Ackman’s own characterizations are significant:           he consistently,
 9
      correctly identified Valeant – not Pershing – as the party proposing a transaction,
10
      i.e., the “offering person.” Pershing repeatedly represented that its role was simply
11
      an activist stockholder, pressuring Allergan’s Board to either pursue in Valeant’s
12
      hostile takeover bid or find a higher bid. By trading while in possession of the
13
      material nonpublic information regarding the tender offer and then pursuing hostile
14
      measures to pressure Allergan, Pershing ensured that its illegal insider trading
15
      profits would continue to grow.
16           E.    As Always Anticipated, Valeant Launches Its Tender
                   Offer
17
            139. As expected, on May 12, 2014, Allergan’s Board officially rejected
18
      Valeant’s April 22 proposal, “unanimously determin[ing] that Valeant’s unsolicited
19
      proposal substantially undervalue[d] Allergan.”
20
            140. In response, and as Defendants had indicated a week before, Pershing
21
      filed a proxy statement for a nonbinding “shareholder referendum” to consolidate
22
      investor support for Valeant’s takeover. If passed, the referendum would have
23
      directed the Allergan Board to “promptly engage in good faith discussions with
24
      Valeant regarding Valeant’s offer to merge with the Company.”            Because the
25    referendum was nonbinding, however, it could not in fact cause the Allergan Board
26    to do anything. Rather, it was simply another means to build support for Valeant’s
27    premediated tender offer. Consistent with Pershing’s true role, the referendum
28

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 1    proxy statement defined Pershing as the Requesting Shareholder, and not the
 2    potential acquirer or an “offering person.”
 3          141. On May 28, 2014, Valeant increased the pressure by announcing a
 4    revised offer of $58.30 in cash and 0.83 shares of Valeant stock per Allergan share,
 5    a total value of approximately $153.67 per share based on Valeant’s then-stock
 6    price. Two days later, on May 30, Valeant made a second revised offer of $72.00

 7    in cash and 0.83 shares of Valeant stock per Allergan share, valued at
      approximately $181 per Allergan share (the “Second Revised Proposal”).
 8
            142. Similar to Valeant’s initial offer, however, Defendants already knew
 9
      that Allergan’s Board would summarily reject it. Indeed, Allergan immediately
10
      confirmed receipt of the Second Revised Proposal and “indicated that Allergan
11
      would likely not be willing to negotiate with Valeant.” From May 29 through June
12
      2, Allergan’s stock price increased approximately 10%, from $156.12 to $172.25.
13
            143. On June 2, 2014 – six weeks after the conclusion of Pershing’s illegal
14
      front-running scheme and accumulation of nearly 10% of Allergan’s stock –
15
      Valeant abandoned the pretense of negotiations with the Allergan Board and
16    publicly announced what it had privately planned all along: Valeant was “taking
17    steps to launch a tender offer,” which Valeant “intend[ed] to commence” “within
18    the next two to three weeks.”
19          144. Valeant and Pershing conducted a joint conference call that morning
20    to describe the purported genesis of the Second Revised Proposal. According to
21    Ackman, he heard from other Allergan stockholders that they wanted Valeant to
22    increase the aggregate deal consideration to approximately $180 per share.
23    Ackman then reportedly took this information to Valeant and negotiated with
24    Valeant to obtain that additional consideration to be paid by Valeant to Pershing

25    and the other Allergan stockholders.

26
            145. During the June 2 conference call, Pershing disclosed it was
      abandoning its nonbinding stockholder referendum and instead commencing a
27
      proxy solicitation to call a special meeting to remove six of the nine-member
28
      Allergan Board (the “Special Meeting”). Ackman acknowledged during the June 2
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 1    call that the Special Meeting solicitation was not an alternative to the tender offer,
 2    but rather a hostile means of achieving it. Specifically, the Special Meeting could
 3    result in the removal of Allergan’s poison pill – a condition to the tender offer. But
 4    Ackman made sure to note that, even if the Special Meeting were successful, it
 5    would result in the tender offer being consummated, and not some negotiated deal:
 6           [T]he simplest mechanism here, if you’ve got a special meeting that is
            going to be done sometime in November. [The Pershing-nominated] Board
 7          is going to be elected, and the board could simply [lift the pill] and allow
 8          the exchange offer to close, and that would . . . really be the fastest way
            this transaction could get done. So, I just think it’s either negotiate now or
 9          close this [exchange offer] transaction, hopefully by year-end.5
10
            146. As Defendants anticipated, on June 10, 2014, Allergan disclosed its
11
      Board’s unanimous rejection of the Second Revised Proposal, based on its
12
      conclusion that Valeant’s proposal “substantially undervalue[d] Allergan, create[d]
13
      significant risks and uncertainties for Allergan’s stockholders and d[id] not reflect
14    the Company’s financial strength, future revenue and earnings growth or industry-
15    leading R&D.”
16          147. Accordingly, and as Valeant had telegraphed a week before, on June
17    11, Valeant formed AGMS, a wholly-owned subsidiary, to buy and hold Allergan
18    shares acquired through the tender offer.
19          148. On June 18, 2014, Valeant formally announced the launch of the
20    tender offer with the filing of a Schedule TO with the SEC. In connection with that
21    announcement, Pearson confirmed the inaccuracy of Valeant’s self-serving claims
22    that it had not previously taken “substantial steps” towards the tender offer.

23
      Specifically, Pearson reflected back on the April announcement, and said that: “On
      April 22, we announced our offer for Allergan. We suspected at the time it would
24
      ultimately have to go directly to Allergan shareholders. We were correct.”
25

26    5 On July 11, 2014, Pershing filed the definitive proxy statement soliciting proxies

27    to call the special stockholders meeting, and filed amended proxy statements on
      September 24 and November 14, 2014. Pershing withdrew the proxy statement
28
      and abandoned the proxy contest on November 18, 2014.
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 1           149. The fact that Valeant’s own CEO admitted Valeant’s intention to
 2    launch a tender offer from the beginning undermines Defendants’ transparent
 3    attempt to dodge securities liability through semantics. Defendants realized that
 4    the core premise of their scheme, i.e., trading a profitable takeover tip in exchange
 5    for votes in support of that takeover, violated the securities laws.
 6
             F.    The S-4 And Schedule TO Confirm That Pershing Was
                   Not An “Offering Person” In The Tender Offer
 7           150. On June 18, 2014, Valeant filed a Registration Statement on S-4 and
 8    Valeant and AGMS filed a Schedule TO with the SEC, thus formally commencing
 9    the tender offer that it had contemplating for several months.              AGMS was
10    consistently defined as the “Purchaser” throughout the S-4 and other relevant SEC
11    filings.
12           151. The S-4 and Schedule TO made clear that it was Valeant – not
13    Pershing – that was making the offer to acquire Allergan shares, and that Pershing
14    had no control or say over the terms of the transaction or the resulting combined
15    company. Among other things, the S-4 outlined Valeant’s “Offer to Exchange Each

16    Outstanding Share of Common Stock of Allergan, Inc. for $72.00 in cash and 0.83

17
      Common Shares of Valeant, . . . by AGMS Inc., a wholly owned subsidiary of
      Valeant.”   In other words, the tender offer consideration consisted of cash
18
      (provided by Valeant) and Valeant stock, and Valeant, through AGMS, was the
19
      “Purchaser” of Allergan shares.
20
             152. Pursuant to the S-4, “none of Pershing Square, PS Fund 1 or any of
21
      Pershing Square’s affiliates [were] offering to acquire any shares of Allergan
22
      common stock in the [tender o]ffer.” No Pershing entity would acquire a single
23
      Allergan share in the tender offer, nor provide Allergan stockholders with a single
24
      dollar or unit of Pershing equity. Indeed, in a crucial section of the S-4 for
25    Allergan investors entitled “Questions and Answers About the Offer,” Defendants
26    were unequivocal concerning each party’s role in the tender offer – that Valeant
27    was the “offering person” in the transaction, and Pershing was not:
28

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 1          Q:     Who is Offering to Acquire My Shares of Allergan Common
 2                 Stock?
 3          A:     The offer is being made by Valeant through Purchaser, a
 4                 wholly owned subsidiary of Valeant.
 5          Q:     What does it mean that Pershing Square and PS Fund 1, a
 6                 Pershing Square affiliate, are co-bidders?
 7          A:     [N]one of Pershing Square, PS Fund 1 or any of Pershing
 8                 Square’s affiliates is offering to acquire any shares of Allergan
 9                 common stock in the offer.
10          153. Valeant’s answer to the self-imposed question about the purpose of
11    calling Pershing a “co-bidder” is telling. The label does not mean what it says, as
12    Pershing was not actually a bidder or an acquirer. The only purpose of attaching
13    the label was to manufacture a falsified defense for Defendants’ violation of the
14    federal securities laws.
15          154. The S-4 also disclosed that Allergan stockholders would receive a mix

16    of cash (provided by Valeant) and Valeant stock in the tender offer and that the

17
      purpose of the tender offer was to give Valeant control so it could complete a
      merger of Allergan into Valeant. Specifically, the S-4 explained that the “purpose
18
      of the [tender o]ffer [wa]s for Valeant to acquire control of, and promptly
19
      thereafter, the entire equity interest in, Allergan. Valeant [then] intend[ed] . . . to
20
      cause Allergan to merge with Purchaser [i.e., wholly owned AGMS], . . . after
21
      which Allergan would be a . . . wholly owned subsidiary of Valeant.” In this
22
      regard, the S-4 registered the over 240 million Valeant shares that were offered to
23
      Allergan stockholders as part of the tender offer consideration.
24
            155. The S-4 also made clear that the over 28 million shares that Pershing
25    unlawfully purchased after Valeant tipped it off regarding its impending tender
26    offer in exchange for voting support would not remain in Pershing’s hands
27    following the closing of the transaction.       Instead, Valeant would compensate
28    Pershing in the tender offer for its shares – amounting to the 9.7% stake – in

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 1    Allergan. To this end, the S-4 registered a pool of Valeant shares that would be
 2    used to buy Pershing out of the Allergan stake that it built by front-running the
 3    tender offer.
 4          156. Given that Pershing’s Allergan shares were being bought out by
 5    Valeant in the proposed tender offer, it is not surprising that the S-4 did not
 6    disclose any “purpose” for the tender offer that in any way concerned Pershing. In

 7    fact, according to the S-4, the only role Pershing played in connection with the
      tender offer was its prior agreement with Valeant pursuant to which Valeant could
 8
      cause Pershing to buy $400 million of Valeant’s common stock (at a 15%
 9
      discount).      This agreement to provide Valeant with an additional source of
10
      financing for the tender offer was not a “bid” to provide anything to Allergan
11
      stockholders in connection with either the tender offer or close-out merger.
12
            157. Moreover, in the S-4, Valeant imposed a number of conditions on
13
      consummating the tender offer, including the tender of, at a minimum, a majority
14
      of Allergan’s fully diluted shares, certain regulatory approvals, and the approval of
15
      Valeant’s stockholders. Not one of these conditions was imposed by Pershing, and
16    in fact none of the conditions had anything to do with Pershing at all – a fact that
17    underscores the lack of any influence whatsoever by Pershing over the transaction
18    or resulting business combination.
19          158. In fact, Valeant even amended the S-4 on July 23, 2014 to further
20    clarify Pershing was not an “offering person.” Under Article 15 of Allergan’s
21    certificate of incorporation, an affirmative vote of at least two-thirds of
22    “disinterested shares” was required for the approval of a transaction between
23    Allergan and any other corporation or its affiliates that individually or in the
24    aggregate directly or indirectly beneficially owned 5% or more of the outstanding

25    voting shares of Allergan. Because it was critical that Valeant avoid the two-thirds

26
      voting requirement, Valeant disclaimed any affiliation with Pershing in the
      amended S-4. Specifically, Valeant asserted that, because Valeant itself owned
27
      only 100 shares, and because Valeant was not the “owner” of the shares of Allergan
28
      common stock held by PS Fund 1, a merger between Valeant and Allergan would
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 1    not be a “Business Combination” with an “Interested Stockholder” subject to
 2    Article 15. Thus, Valeant itself acknowledged that Valeant is and always was the
 3    offering person, while PS Fund 1 was a separate, unaffiliated entity.
 4          159. The Schedule TO was similarly careful to distinguish the Valeant from
 5    the Pershing entities. The Schedule TO listed Valeant and AGMS as “offerors” and
 6    PS Fund 1 as an “other person” on the cover page. The Schedule TO also

 7    described AGMS – and not any Pershing entity – as the “Purchaser” in “the third-
      party tender offer.”
 8
            160. Despite Valeant’s admission that neither Pershing nor PS Fund 1 was
 9
      acquiring any shares of Allergan in the tender offer, Defendants continued to
10
      describe PS Fund 1 “as a person that is considered a co-bidder for SEC purposes,”
11
      while at the same time stating that “none of Pershing Square, PS Fund 1 or any of
12
      Pershing Square’s affiliates is offering to acquire any shares of Allergan stock in
13
      the offer.”    Again, the Allergan stockholders (and Pershing as its largest
14
      shareholder) were receiving an offer of Valeant cash and Valeant stock from a
15
      singular offeror—Valeant—through AGMS, a wholly owned Valeant subsidiary.
16    Pershing was not offering anything to, or purchasing anything from, Allergan’s
17    stockholders, and did not provide any consideration in the tender offer. In fact, as
18    Allergan’s largest shareholder, Pershing itself was being “offered” consideration by
19    Valeant in the tender offer.      Accordingly, the amended Schedule TO (and
20    subsequent versions of the Schedule TO) continued to describe the tender offer as a
21    “third-party tender offer by Purchaser,” Valeant, through its AGMS subsidiary.
22          G.      Defendants Profit from The Illegal Warehousing
                    Scheme When Actavis Acquires Allergan for $7 Billion
23                  More Than Valeant Offered

24          161. Following Allergan’s continued resistance to Valeant’s hostile tender

25    offer proposal, on October 27, 2014, Valeant informed investors in a letter to

26
      Allergan’s Board that it was “prepared to raise its offer to at least $200 per share,”
      over 70% higher than the “unaffected” price of Allergan shares at which
27
      unsuspecting class members sold their stock during the Class Period.
28

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 1           162. On November 17, 2014, Allergan announced that it had entered into a
 2    merger agreement with Actavis, subject to certain closing conditions, including a
 3    vote by Allergan’s stockholders to approve the transaction. The merger agreement
 4    provided Allergan’s then-current stockholders with consideration amounting to
 5    $219 per share.
 6           163. On November 18, 2014, following Allergan’s announcement of the

 7    Actavis agreement, Pershing announced that it had “discontinue[d] its proxy
      solicitation.”    A day later, on November 19, 2014, Valeant filed amendment
 8
      number 6 to the Schedule TO, withdrawing the tender offer. All parties then
 9
      agreed to cancel the Special Meeting.
10
             164. On November 19 and 20, 2014, consistent with the terms of the
11
      February 25 Relationship Agreement and Defendants’ warehousing scheme, which
12
      required Pershing to pay 15% of its profits to Valeant if an acquirer other than
13
      Valeant agreed to acquire Allergan, PS Fund 1 sold 2,242,560 shares of Allergan
14
      for $212.80 and $210.36 per share, respectively.       Valeant made almost $400
15
      million in profits on its $75 million investment – approximately $350 million of
16    which was a pure gain resulting from Defendants’ unlawful insider trading scheme.
17    Considering that, from 2009 through 2013, Valeant lost an average of about $171
18    million annually, this windfall derived from Pershing’s insider trading had a
19    significant impact on Valeant’s bottom line.
20           165. On November 21, 2014, Pershing made certain amendments to its
21    Schedule 13D to disclose PS Fund 1’s November 19 and 20 sales of Allergan stock
22    and the effective termination of the February 25 Relationship Agreement.
23    Defendants attached an amendment to the Relationship Agreement, which
24    provided that Valeant was no longer a member of PS Fund 1 after it received its

25    15% share of Pershing’s trading profits.

26
             166. The Actavis/Allergan merger was completed on March 17, 2015. As
      of that date, Pershing owned nearly 9% of Allergan’s common stock – valued at
27
      over $6 billion dollars – but quickly cashed in by selling most its shares after the
28

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 1    Actavis transaction closed. All told, Pershing made well over $2.5 billion in
 2    profits from Defendants’ modern-day illegal warehousing scheme.
 3           H.    Allergan Sues Defendants and the Court Finds that
                   Defendants’ Misconduct Raises “Serious Questions”
 4                 and Likely Violates the Federal Securities Laws
 5          167. On August 1, 2014, Allergan and Allergan employee Karah H.
 6    Parschauer sued Defendants seeking to prevent them from enjoying the fruits of

 7    their securities violations in connection with Pershing’s proposed scheduled

 8
      Special Meeting and proxy contest. Following limited expedited discovery, on
      October 7, 2014, Allergan and Parschauer filed their motion seeking a preliminary
 9
      injunction that would enjoin Pershing from (i) exercising beneficial rights of
10
      ownership in the shares PS Fund 1 acquired while in possession of nonpublic
11
      material information regarding Valeant’s anticipated tender offer, and (ii) voting
12
      proxies it solicited for the Special Meeting on the basis of misleading disclosures
13
      regarding Defendants’ securities violations, unless or until those misstatements
14
      were corrected.
15
            168. In its November 4, 2014 order, this Court found that Allergan and
16    Parschauer had raised “at least” and “at minimum” “serious questions” regarding
17    (i) whether Valeant had taken substantial steps towards the tender offer prior to PS
18    Fund 1’s purchases and (ii) whether Pershing was an “other person” as described in
19    Rule 14e-3 and, therefore, was required to abstain from trading or disclose the
20    nonpublic information it possessed relating to Valeant’s tender offer. Thus, the
21    Court found that plaintiffs “raised serious questions going to the merits of their
22    Rule 14e-3 claim.”
23          169. The Court ultimately declined to enjoin Pershing from exercising
24    beneficial ownership rights over the 9.7% of Allergan shares it owned, in part

25    because Parschauer, as a contemporaneous seller of shares to Pershing “ha[d] a

26
      private right of action under Rule 14e-3” that “c[ould] be remedied through
      damages.”
27
            170. The Court also ruled that Defendants’ proxy disclosures contained
28
      false or misleading statements or omitted to state material facts, including because
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 1    they failed to disclose the machinations in the February 25 Relationship Agreement
 2    designed to end-run Rule 14e-3 and that Defendants faced meaningful liability for
 3    insider trading. The Court accordingly ordered Defendants to make corrective
 4    disclosures that highlighted the appreciable risks of liability Defendants assumed
 5    based on their course of conduct.
 6          171. On November 14, 2014, the Court ordered Defendants to file

 7    disclosures with the SEC stating that Defendants faced significant “risks and
      exposures” “[s]hould Valeant and Pershing Square ultimately be found to have
 8
      violated Section 14(e) and Rule 14e-3,” including “private stockholder class
 9
      actions, which could result in significant damages awards or disgorgement of
10
      profits.”
11
      V.     APPLICABILITY OF THE AFFILIATED UTE
12           PRESUMPTION OF RELIANCE
13          172. Plaintiffs and the putative Class are entitled to the Affiliated Ute
14    presumption of reliance due to Defendants’ failure to disclose nonpublic material
15    information relating to a tender offer for Allergan in violation of federal securities

16    laws. Defendants had a duty to disclose that information and its source within a

17
      reasonable time prior to PS Fund 1’s transactions in Allergan securities, but made
      no such disclosure. Had Plaintiffs known of the material undisclosed information,
18
      they could have avoided selling Allergan securities at the unfair prices they did, or
19
      at all, during the Class Period.
20
      VI.   CONTEMPORANEOUS TRADING
21
            173. During the Class Period, Plaintiffs relied on the integrity of the market
22
      for Allergan securities which was presumed to be determined by ordinary supply
23
      and demand and free from manipulation, distortion and insider trading on the basis
24
      of material, nonpublic information.         The Williams Act required Pershing to
25    disclose all material public information pertaining to Valeant’s anticipated tender
26    offer or to abstain from trading. PS Fund 1 entered into below transactions while
27    in possession of material information relating to a tender offer of Allergan during
28    the Class Period in breach of its obligation to disclose such information or abstain

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 1    from trading under the federal securities laws. Further, as Ackman admitted, these
 2    transactions were effectuated by “go[ing] into the market” on the dates indicated in
 3    the chart set forth above at paragraph 102:
 4      Date of 2014       Quantity       Stock Price     Strike            Security
         Purchase         Purchased                       Price
 5
        February 25        174,636          $125.16        N/A         Common Stock
 6      February 26        422,795          $127.83        N/A         Common Stock
          March 3         1,239,000         $127.68       $1.27        OTC Call Option
 7
          March 6          863,000          $129.06       $1.29        OTC Call Option
 8       March 11          779,000          $128.58       $1.28        OTC Call Option
 9
         March 14         1,416,000         $128.90       $1.28        OTC Call Option
         March 19         1,353,000         $131.42       $1.31        OTC Call Option
10       March 24         2,130,000         $128.61       $1.28        OTC Call Option
11       March 27         2,578,000         $123.60       $1.23        OTC Call Option
          April 1         1,733,000         $123.55       $1.23        OTC Call Option
12        April 4         1,046,000         $125.56       $1.25        OTC Call Option
13        April 8         1,191,107         $121.94       $1.21        OTC Call Option
          April 11        2,523,000         $120.66       $1.20        OTC Call Option
14
          April 14        2,184,000         $123.65       $1.23        OTC Call Option
15        April 15        1,843,000         $126.02       $1.26        OTC Call Option
          April 16        2,233,000         $130.45       $1.30        OTC Call Option
16
          April 17        1,720,000         $134.01       $1.33        OTC Call Option
17        April 21        3,450,000         $140.37        N/A          OTC Equity
18
                                                                          Forward

19
            174. As set forth in their sworn certifications previously filed in this action
20
      (Dkt. No. 18-2) and herewith, Plaintiffs sold Allergan common stock during the
21
      Class Period on the dates and for the prices indicated, and thus traded
22
      contemporaneously with PS Fund 1.
23    VII. CLASS ACTION ALLEGATIONS
24          175. Plaintiffs bring this action as a class action pursuant to Rule 23 of the
25    Federal Rules of Civil Procedure on behalf of all persons who sold Allergan
26    publicly traded common stock from February 25, 2014 through April 21, 2014,
27    inclusive (the “Class Period”), hereinafter referred to as the “Class.” Excluded
28    from the Class are Defendants, their officers and directors, members of the

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 1    immediate family of such officers and directors, any entities in which Defendants
 2    have or had controlling interests, and all of the legal representatives, heirs,
 3    successors or assigns of each of the foregoing. The members of the Class are so
 4    numerous that joinder of all members is impracticable. While the exact number of
 5    Class members is unknown to Plaintiffs at this time and can only be ascertained
 6    through appropriate discovery, Plaintiffs believe that there are hundreds or

 7    thousands of members of the proposed class. Record owners and other members
      of the Class may be identified from records maintained by Allergan or its transfer
 8
      agent and may be notified of the pendency of this action by mail, using the form of
 9
      notice similar to that customarily used in securities class actions. As of March 11,
10
      2014, as reported in Allergan, Inc.’s Definitive Proxy Statement on Schedule 14-A
11
      filed with the SEC on March 26, 2014, there were 299,108,984 shares of Allergan
12
      stock outstanding.
13
             176. There are numerous questions of law and fact common to all members
14
      of the Class that predominate over any questions which may affect individual class
15
      members, including but not limited to:
16                   (a)    whether Defendants violated federal securities laws;
17                   (b)    whether the Pershing Defendants unlawfully purchased
18     Allergan securities while in possession of material, nonpublic information relating
19     to a tender offer;
20                   (c)    whether the Valeant Defendants unlawfully communicated
21     material, nonpublic information relating to a tender offer to the Pershing
22     Defendants;
23                   (d)    whether Defendants engaged in fraudulent, deceptive or
24     manipulative practices in violation of Section 14(e) and Rule 14e-3 of the
25     Exchange Act;
26                   (e)    the extent of damages sustained by Class members and the
27    appropriate measure of damages.
28

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 1          177. Plaintiffs’ claims are typical of those of the Class because Plaintiffs
 2    and the Class sustained damages from the same wrongful conduct.
 3          178. Plaintiffs will adequately protect the interests of the Class and have
 4    retained counsel who are experienced in class action securities litigation. Plaintiffs
 5    have no interests which conflict with those of the Class.
 6          179. A class action is superior to other available methods for the fair and

 7    efficient adjudication of this controversy. Furthermore, as the damages suffered by
      individual Class members may be relatively small, the expense and burden of
 8
      individual litigation make it impossible for members of the Class to individually
 9
      redress the wrongs done to them. There will be no difficulty in the management of
10
      this action as a class action.
11
      VIII. CLAIMS FOR RELIEF
12
                                FIRST CLAIM FOR RELIEF
13
                    For Violations of Section 14(e) Of The Exchange Act
14
                    And Rule 14e-3 Thereunder Against All Defendants
15
            180. Plaintiffs incorporate by reference and re-allege each and every
16
      allegation contained above, as though fully set forth herein.
17
            181. Section 14(e) provides: “It shall be unlawful for any person to make
18
      any untrue statement of a material fact or omit to state any material fact necessary
19    in order to make the statements made, in the light of the circumstances under
20    which they are made, not misleading, or to engage in any fraudulent, deceptive, or
21    manipulative acts or practices, in connection with any tender offer.”
22          182. Defendants’ conduct violated their respective obligations under
23    Section 14(e) of the Williams Act and the rules promulgated thereunder, including
24    Rule 14e-3(a) (prohibiting the Pershing Defendants from trading while in
25    possession of nonpublic material information relating to a tender offer) and Rule
26    14e-3(d) (prohibiting the Valeant Defendants from communicating nonpublic
27    material information relating to a tender offer).
28

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 1          183. Rule 14e-3(a) provides that once an offering person has “taken a
 2    substantial step or steps to commence a tender offer,” then “it shall constitute a
 3    fraudulent, deceptive or manipulative act or practice” for any “other person who is
 4    in possession of material nonpublic information relating to the tender offer which
 5    information he knows or has reasons to know is nonpublic and which he knows or
 6    has reason to know has been acquired directly or indirectly from the offering

 7    person” (or any of the offering person’s officer, director, partner or employee or
      any other person acting on behalf of the offering person) to “purchase or sell or
 8
      cause to be purchased or sold” any securities in the target or “any securities
 9
      convertible into or exchangeable for any such securities or any option or right to
10
      obtain or to dispose” of such securities unless the nonpublic information is
11
      disclosed within a reasonable time prior to trading.
12
            184. Rule 14e-3(d) provides that, under such circumstances, it shall be
13
      unlawful for an offering person “to communicate material, nonpublic information
14
      relating to a tender offer to any other person under circumstances in which it is
15
      reasonably foreseeable that such communication is likely to result in a violation of
16    this section.”
17          185. The purpose of Rule 14e-3 is to prevent parties with nonpublic
18    information relating to a tender offer as to which substantial steps have been taken
19    from transacting with investors who do not have such information, unless they
20    disclose that information first and within a reasonable time prior to trading the
21    relevant securities. Rule 14e-3 seeks to curb “warehousing”—the practice of a
22    tender offeror intentionally leaking information to institutional investors to allow
23    those entities to make early trades with other market participants before the latter
24    learns of the tender offer.

25          186. After taking substantial steps to commence a tender offer for Allergan

26
      shares, the Valeant Defendants unlawfully communicated material, nonpublic
      information relating to that tender offer to the Pershing Defendants.           Those
27
      communications were made under circumstances in which it was reasonably
28

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 1    foreseeable that those communications were likely to result in a violation of Rule
 2    14e-3.
 3             187. Following Valeant’s communications, and without disclosing the
 4    material, nonpublic information, the Pershing Defendants purchased or caused to
 5    be purchased over 28 million shares of Allergan stock while in possession of
 6    material, nonpublic information obtained from the Valeant Defendants.               The

 7    Pershing Defendants knew or had reason to know the information was nonpublic,
      material and had been acquired directly or indirectly from Valeant, the offering
 8
      person.
 9
               188. Defendants intentionally or recklessly engaged in acts, practices and a
10
      course of conduct that was fraudulent, deceptive or manipulative in violation of
11
      Section 14(e) and Rule 14e-3 of the Exchange Act.
12
               189. As set forth in Section VI, supra, Plaintiffs sold Allergan securities
13
      contemporaneously with PS Fund’s transactions during the Class Period.
14
               190. Defendants’ violations of Section 14(e) of the Williams Act, and the
15
      rules adopted thereunder, have caused Plaintiffs and the Class damages. The Class
16    did not have the information required to be disclosed under Section 14(e) and Rule
17    14e-3 and therefore sold Allergan stock for an unfair and artificially low price.
18    Defendants’ misconduct allowed them to unlawfully enrich themselves by
19    purchasing Allergan shares at unfair and artificially low prices.
20                              SECOND CLAIM FOR RELIEF
21                            For Violations of Section 20A Of The
22                            Exchange Act Against All Defendants
23             191. Plaintiffs incorporate by reference and reallege each and every
24    allegation contained above, as though fully set forth herein.
25             192. Section 20A(a) of the Exchange Act provides that “[a]ny person who
26    violates any provision of [the Exchange Act] or the rules or regulations thereunder
27    by purchasing or selling a security while in possession of material, nonpublic

28    information shall be liable . . . to any person who, contemporaneously with the

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 1    purchase or sale of securities that is the subject of such violation, has purchased . . .
 2    securities of the same class.”
 3          193. As set forth herein, the Pershing Defendants violated Section 14(e)
 4    and Rule 14e-3 by engaging in fraudulent, deceptive or manipulative practices and
 5    trading in Allergan securities while in possession of material, nonpublic
 6    information relating to a tender offer. The Pershing Defendants are therefore liable

 7    under Section 20A(a).
            194. Section 20A(c) of the Exchange Act provides that “[a]ny person who
 8
      violates any provision of [the Exchange Act] or the rules or regulations thereunder
 9
      by communicating material, nonpublic information shall be jointly and severally
10
      liable under subsection (a) with, and to the same extent as, any person or persons
11
      liable under subsection (a) to whom the communication was directed.”
12
            195. As set forth herein, the Valeant Defendants violated this provision by
13
      communicating material, nonpublic information relating to a tender offer to the
14
      Pershing Defendants under circumstances in which it was reasonably foreseeable
15
      that those communications were likely to result in a violation of Rule 14e-3.
16          196. As detailed in Section VI supra, Plaintiffs sold Allergan common
17    stock contemporaneously with the Pershing Defendants.
18          197. Under Section 20A of the Exchange Act, Defendants are jointly and
19    severally liable to Plaintiffs and the Class for all profits gained and losses avoided
20    by them as a result of their insider trading.
21                              THIRD CLAIM FOR RELIEF
22                           For Violations of Section 20(a)
23                           Of The Exchange Act Against
                 Pershing Square, PS Management, Ackman And Pearson
24
            198. Plaintiffs incorporate by reference and reallege each and every
25
      allegation contained above, as though fully set forth herein.
26
            199. Section 20A(b)(3) of the Exchange Act provides that the “liability of a
27
      controlling person under [Section 20A of the Exchange Act] shall be subject to
28
      [Section 20(a) of the Exchange Act].”
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 1          200. Defendants     Pershing    Square,   PS   Management        and Ackman
 2    (collectively, the “Pershing Control Defendants”) acted as controlling persons of
 3    PS Fund 1 within the meaning of Section 20(a) of the Exchange Act, as alleged
 4    herein.
 5          201. Ackman, by reason of his position of control and authority as the CEO
 6    of Pershing Square and as the “managing member” of the Pershing entities that

 7    were party to the February 11, 2014 Agreement, had the power and authority to
      influence and control, and did influence and control, the activities of PS Fund 1,
 8
      including the manner and timing of PS Fund 1’s purchases of Allergan securities.
 9
      In his capacity as the most senior corporate officer of Pershing Square and other
10
      Pershing entities, and as more fully described above, Ackman caused PS Fund 1 to
11
      enter into the transactions to acquire Allergan securities without disclosing
12
      information that was required to be disclosed under Section 14(e) and Rule 14e-3
13
      of the Exchange Act.
14
            202. Pershing Square, as the non-member manager of PS Fund 1, had “full,
15
      exclusive and complete discretion in the management and control of the business
16    and affairs” of PS Fund 1 under the February 11, 2014 Agreement, including the
17    manner and timing of PS Fund 1’s purchases of Allergan securities. Pershing
18    Square caused PS Fund 1 to enter into transactions to acquire Allergan securities
19    without disclosing information that was required to be disclosed under Section
20    14(e) and Rule 14e-3 of the Exchange Act as alleged herein.
21          203. PS Management, as the sole general partner of Pershing Square, had
22    the power and authority to influence and control, and did influence and control, the
23    business activities and decisions of Pershing Square, and thus PS Fund 1, and in
24    that capacity caused PS Fund 1 to enter into transactions to acquire Allergan

25    securities without disclosing information that was required to be disclosed under

26
      Section 14(e) and Rule 14e-3 of the Exchange Act.
            204. Each of the Pershing Control Defendants culpably participated in
27
      some meaningful sense in the violations of federal securities laws as alleged
28
      herein.
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 1           205. By virtue of their positions as controlling persons of PS Fund 1 and as
 2    a result of their own aforementioned conduct, the Pershing Control Defendants
 3    together and individually, are liable pursuant to Section 20(a) of the Exchange Act,
 4    jointly and severally with, and to the same extent as PS Fund 1 is liable under
 5    Section 14(e) and Rule 14e-3 and Section 20A of the Exchange Act.
 6           206. Pearson, by reason of his position of control and authority as the CEO

 7    of Valeant, had the power and authority to influence and control, and did influence
      and control, the activities of Valeant, including the substantial steps Valeant took
 8
      toward a tender offer and Valeant’s communication of material, nonpublic
 9
      information relating to that tender offer to the Pershing Defendants, as alleged
10
      herein. Pearson culpably participated in some meaningful sense in the violations
11
      of federal securities laws as alleged herein.
12
             207. By virtue of his position as a controlling person of Valeant and as a
13
      result of his own aforementioned conduct, Pearson is liable pursuant to Section
14
      20(a) of the Exchange Act, jointly and severally with, and to the same extent as
15
      Valeant is liable under Section 14(e) and Rule 14e-3 and Section 20A of the
16    Exchange Act.
17                                  PRAYER FOR RELIEF
18
             WHEREFORE, Plaintiffs pray for relief as follows:
19
              A.     Declaring this action to be a proper class action pursuant to Fed. R.
20
       Civ. P. 23;
21
              B.     Awarding Plaintiffs and the members of the Class damages, including
22
       interest;
23
              C.     Awarding Plaintiffs reasonable costs and attorneys’ fees; and
24
              D.     Awarding such equitable/injunctive or other relief as the Court may
25
       deem just and proper.
26

27

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 1                                    JURY DEMAND
 2          Plaintiff hereby demands a trial by jury.
 3    Dated: June 26, 2015                   Respectfully submitted,
 4

 5
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                                               & GROSSMANN LLP
 6

 7
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25

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                              CERTIFICATION PURSUANT TO
                             THE FEDERAL SECURITIES LAWS


            I, Patrick T. Johnson, hereby certify, as to the claims asserted under the federal
    securities laws, that:

        1. 1 have reviewed the Amended Complaint in this matter and authorize its filing by
           counsel.

       2. The securities that are the subject of this action were not purchased at the
          direction of counsel or in order to participate in any action arising under the
          federal securities laws.

       3. 1 am willing to serve as a representative party on behalf of the Class, including
          providing testimony at deposition and trial, if necessary.

       4. My transactions in the Allergan securities that are the subject of this action are set
          forth in the chart attached hereto.

        5. 1 have not sought to serve as a lead plaintiff or representative party on behalf of a
           class in any action under the federal securities laws filed during the three-year
           period preceding the date of this Certification.

        6. I will not accept any payment for serving as a representative party on behalf of the
           Class beyond my pro rata share of any recovery, except such reasonable costs and
           expenses (including lost wages) directly relating to the representation of the Class,
           as ordered or approved by the Court.

            I declare under penalty of perjury that the foregoing is true and correct to the best
            of my knowledge. Executed this day of June, 2015.
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   Patrick T. Johnson
   Transactions in Allergan Common Stock

     Transaction       Date         Shares     Price

        Sale         3/12/2014        250    $126662
        Sale         3/12/2014       1,000   $126461
